~ + Case 2:90-ev-00520-KJM-SCR ~ Document 2242-4 Filed 05/24/07 Page 1 of 72:

_ EXHIBITL

Case 2:90-cv-00520:KJM-SCR ~ Document 2242-4 Filed 05/24/07 Page 2 of 72

_ Chase Riveland .
Office of the Special Master
idivi chwarzenegger
5714 Deer Harbor Ra,
_ Box 367°
Deer Harbor, WA 98243
: Tel: (360)376-2870
_ Fax: (360)376-2879 .
E-mail: .
. _ tveland@rockistand.com ”
- ~~” July 4, 2006 |
VIA EMAIL
Benjamin T. Rice “Michael Brady
Deputy Attomey General Project Manager |.
1300 *T” Street - , Litigation Management Unit
‘PO Box 944255 - _ _ ' California Department of Corrections

Sacramento, CA 94244-2550 "and Rehabilitation
Do, 1315 K Street, Suite 520
Sacramento, CA 95814
RE: Valdivia v. Schwarzenegger
Dear Mr. Rice and Mr. Brady:

This letter is to confirm our ‘discussion at the joint meeting in Sacramento on June 26,
2006. Defendants have not succeeded in using remedial sanctions as described in. the

’ Stipulated Order for Injunctive Relief, and plans to date do not demonstrate a reasonable

probability of meeting that goal. We agreed that the Defendants are to prepare a new
remedial sanctions plan, to be presented to. the Special Master and the Plaintiffs’

, attorneys no later than November 30, 2006.

That plan should include any changes in programs, policies, or courses ‘of action that
mest the spirit and the projected numbers of the original remedial sanctions plan. It may
includé any of the programs currently in use, as well as others CDCR would like fo

.. propose. The plan must include specific details concerning the. programs: to be offered;

the populations for which they are designed; the logistics required to design, fund,

contract for, and éversee the programs, including training of BPH and DAPO staff in
| using them; and anticipated timelines for each of those steps. me,

It is my intention that CDCR’s departments have the opportunity to determine a plan
most workeble for them. You are encouraged to seek input from the Special Master’s
team’ and Plaintiffs’ altorneys as you draft the plan, and J anticipate we will have joint

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discussions after you have submitted it in November. I expect that this deadline will
provide sufficient time. If CDCR does not submit a plan by that time, or it does not
‘account for an adequate nuinber of programming slots and sufficient means to establish
and operate them, I will recommend to the Court that CDCR be ordered to generate such
a plan ona short timeling thereafter.

I look forward to working with you on this.
Sincerely yours,

it Chase Riveland

‘Chase Riveland

Special Master

CC: Ernest Galvan: Rosen, Bien & Asaro
Michael Bien: Rosen, Bien & Asaro .

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Case 2:90-cv-00520-KJM-SCR

EDMUND G. BROWN JR.
' Attorney General

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State of California
DEPARTMENT OF SF USTICE

(3001 STREET, SUITE 125

P.O. BOX 944255
SACRAMENTO, CA. 94244-2550

445-9555

‘Public: gis
Facsimile: (916) 324-5205

Telephone:
E-Mall: Katherine.Nelso

February 7, 2007 -
_ Via Electronic Ma il

‘Virginia L. Morrison, Deputy Special Master
One Cedar Avenue .
Kentfield, CA 94904 —

Naney M. Campbell, Deputy Special Master. —
- 8232 Hansen Road NE
Bainbridge Island, WA 98110

Chase Riveland

_ Riveland Associates
5714 Deer Harbor Road, Box: 367

Deer Harbor, WA 98243"

RE: Jerry Valdivia, et al. v. Arnold Schwarzenegger, et al.
‘USDC-ED :94-CV- LEK GGHP —

Dear Counsel:

Pursuant to agreements reached at the December 1s, 2006 all-parties meeting,
Defendants hereby submit to the special masters the attached informational bulletin from CDCR --
regarding programs and services currently available to and/or plans to provide programs and
services to California's parolee population. This informationat piece inno way obligates.
Defendants to provide the programs or services described in the document either through the «
Valdivia lawsuit or otherwise unless previously ordered by the Court, On February 15, 2007,
Defendants will provide the special n masters with a. remedial sanctions Plan.

If the special masters disagree with Defendants interpretation of the December 15

916) 445-4979

pj.ca.gov

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Februaty 7, 2007
Page 2

agreement, Defendants ask that the special masters return the document. to Defendants with
instructions clarifying the special masters expectations regarding this informational piece.

Thank you for ‘your prompt attention to this matter.

For

CC: Enmest Galvan, Esq.

Michael Bien, Esq.
' Donald Specter, Esq.

3021796 Lwpd

EDMUND G. BROWN JR.
Attomey General _

’ Sincerely,

/s/ Katherine Kylin Nelson

KATHERINE KYLIN NELSON

. Deputy Attorney General -

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Division of Adult Parole Operations
Informational! Report to the Special Master

February 6, 2007

Purpose

The following i is a broad overview of programs and initiatives that the Department of Adult
Parole Operations (DAPO) i is currently and/or plans to: engage in to achieve its mission. This
informational update ts provided upon request of the Special Master i in the Valdivia lawsuit. Its -
purpose is to provide the Special Master's. team and plaintiffs’ attorneys with edequate
information to understand the many activities that DAPO is engaged i in, ‘

The programs and activities described here are meant to foster improved parolee adjustment; a3 a
sécondary ‘effect, they often serve to prevent the need for revocation. Some programs are ~
currently used as remédial sanctions; some will be newly used for perolces facing possible —
revocation as well as other parolee populations. Others support the objectives of improving

- behavior and thereby reducing recidivism but fal! outside the remedial sanctions réquired by
Valdivia. Their inclusion here is for information only and does not indicate agreement that they
fall within the purview of this lawsuit, .

This document will describe the programs and their uses in general terms. Most detail
conceming funding, contracting, training, implementation, and measurement will be described in
a separate document, the revised Remedial Plan scheduled for submission to the Special Master’s
team and plaintiffs’ attomeys in February 2007,

. Overview and Philosophy

In Fiscal Year. (FY) 2005/06, the California Department of, Corrections and ‘Rehabilitation
(CDCR) embarked upon. a substantive change in philosophy and direction. it began to formally
recognize the connection between its public safety role and the need to provide offenders with
the: skitls and treatment necessary for succcasful reintegration into their communities. CDCR
‘began to refocus on rehabilitation through programming and the implementation of evidence-
based practices. .

According to. the US Department of Justice Bureau for Justice Statistics, California feads the
nation in the percentage of offeriders retumed to prison: for parole violations. This population
represents approximately 60 percent of all admissions to California prisons. The DAPO is
committed to reducing recidivism by implementing proven evidence-based practices. Through
accurate assessment parolees can be matched to effectivé interventions that are designed to
modify behaviors that decrease a parolee’s chance of recidivating. We believe we can achieve

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- the delicate balance of inaintaining public safety while assisting offenders ‘to successfully a
_ Feintegrate back into their communities and thus, reduce the recidivism rate.

In support of its renewed emphasis on rehabilitation, CDCR’s FY 2006/07: budget contains
52.8 million dollars in funding. for new or expanded programming for adult offenders. All
funded programs support recidivism reduction and community reintegration. Funded programs -

‘fall within four phases. of a. continuum ‘of services: community (prior to commitment to the
. CDCR), institution, structured reentry, and community reintegration. Programs are initiated at
~ different stages in an offender's re-entry procéss. The most effective strategy to. facilitate

rehabilitation is a continuum of services from incarceration through patole. These programs
represent a first step toward the goal of developing a delivery system which offers a continuum
of services, periodic outcome evaluations, and constant adjustments. in programming throughout

~ the duration of the offender's commitment to the criminal justice system.

The Division of Adult Parolé Operations (DAPOQ) is committed to achieving the CDCR mission -

'. by enhancing community safety through providing a period of supervision and incentives
‘following an offender’s release from state-prison. The mission of DAPO is to.maximize public

safety and facilitate effective: re-entry: through the utilization of evidence-based programs,
services, and practices. designed to assist an offender’s reintegration into the- community,
Effective reintegration into the community is accomplished through the accurate assessment of
the tisk and needs of the offénder population, strategic intervention, and a balariced approach to
parole supervision and discharge practices. To achieve our missiori, DAPO combines an array of -

program. resources: with the. commitment. of dynamic and motivated parole staff, service

providers, law enforcement, local and state governments, and communities.

- DAPO's goals include implementing:

* . Risk and needs assessment tools that provide’ accurate and timely information about
services needed for cornmunity adjustment and required level of supervision — .
The use of graduated sanctions and positive reinforcement . ! -

_ © Decisions, programs, and parolee oversight based on evidence of decision-making and -
practice . CO, 7 , ot

" Methods to achieve these goals include:

* Educating -parole staff regarding the use of evidence-based recidivism reduction
- , strategies and alternatives to revocation; oo : -
* Changing the culture within DAPO to reflect a balanced approach to public safety and
rehabilitation; oo: a oo
* Modifying decision-making about.revocation/continuation of parole so. that it relies on a
‘decision-making matrix — recognized as nationwide correctional best practices — ‘and
providing organizational support for its use a
e Including a cross section-of DAPO professionals, subject matter experts, case-working -
Agents, Parole Agents’ Association of California (PAAC) leadership and the Board of
Parole Hearings (BPH) supervisors and staff in the development and implementation of
these objectives - ‘

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- Proposed New Programs and Initiatives
. Graduated Sanctions/Parole Violation Matrix

_ In an effort to implement an effective approach to recidivism reduction, DAPO is developing a
decision-making matrix to assist the Agent of Record (AOR) and his/her supervisor when
confronted with a parolee that.has violated the terns of parole or committed a new offense. The
matrix will provide more consistent decision. making and provide an array of actions that should -

~~’ be taken when adjudicating parole violations.

The DAPO will draw on the experience of other jurisdictions that have successfully implemented
similar matrixes, This will begin immediately. Once designed, the matrix will be: piloted at
selected sites throughout the state. The tentative date for a regional pilot project is fall 2007.

Community-Based ICDTP.

-The DAPO has developed a new In-Community ICDTP methodology that allows parolees to

participate in the-same treatment program while remaining in the community. Rather than
utilizing local jails, community facilities are used. This is beneficial because it avoids
. incarceration which is both expensive, difficult to find secure facilities that have space and -

eliminates the problem of restrictions in secure settings that do not support. treatment strategies,
It should also be easier to site the programs in'a wide range of communities throughout the state,

Although ICDTP facilities may not be located in all counties, they will be able to serve parolees

from virtually any community in the State. The DAPO and the BPH are also exploring ‘policy

changes to permit more parolees to participate in such programs. outside their home counties (see
- New Policies and Procedures, below). Adding the community ICDTP will create access for. -
_ parolees in all Regions of the State. ce

- Comniunity Based Coalition -

Currently, the Los Angeles arca has a large population of homeless parolees which will be
targeted for services. In an effort to address the problems of ‘this population, the DAPO has _
partnered with the Community. Based Coalition (CBC) in developing a collaborative pilot -
program between. the DAPO and CBC to provide housing and support services for parolees -
in Los Angeles, This program is’ still in the developmental stages and may be used for parolees
facing revocation or for other parolee populations. The CBC will provide services. such ds
housing, family and group counseling, case management services, substance abuse counseling,
‘community outreach and referrals to partner agencies that will provide employment readiness
and job placement, life skills development, treatment and recovery services and assistance with .°
(ransportation. These services shall be provided by the contractor ona referral basis... The CBC
shall provide and/or refer parolees to licensed residential and transitional housing facilities that
will serve both male and female participants in non-coed environments. The length of stay shall
‘not exceed 180 days. Case management, including individual case assignments, development of —

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individual service treatment plans, development of discharge plans that include culturally
appropriate peer support, family engagement and reunification, independent community living
arrangements, both transitional and permanent aftercare, and community outreach partnerships
are all aspects of the CBC. = fe

The goal of the CBC is to’ provide services to approximately 500 parolees annually. It is.

anticipated that 250 residentiat-and transitional housing beda will also be available to parolees in
heed. This program will assist DAPO in addressing the issue of homeless parolees. who have

shown to be at a high risk of re-offending and being returned to prison. -

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Page 11 of 72

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Coniact Person: Frad Haywood : . —_. Phone: 327-4451 .

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bo held on 1-4-07 with tha bid
opening dete at 2-5-07. |

sciviica hare, Thie bidders’ conference was held an January 4, 2007, The bli opaning dale for this projec! wi! be oxtanded unlll February.5, 2007 due
to addillona) questpaaconceams that releed al the bidders’ conferance, The anticipated étert cate for thls project ls Fabruary 20, 2007.

Existing Programs to. Be Expanded to Include Parolees Facing Revocation

The following are programs that may be made available to parolees in the revocation
process: .

Parolee Services Network :

' The Parolee Services Network (PSN) provides substance abuse treatment and Tecovery services

for eligible parolees (felons and civil addicts) in Alameda, Contra Costa, Fresno, Kern, Los

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Angeles, Marin, Napa, Orange, Riverside, Sacramento, San Bernardino, San Diego, San.
' Francisco, San Mateo, Santa Clara, Solano, and Sonoma, Counties. The PSN is a collaborative
.Program among the DAPO, Department of Alcohol and Drug Programs, 17 county alcohol and
drug programs, case management providers, and community-based: organizations, Each parole
district maintains a listing of available programs located in their immediate area that provide the
parolee population with services, ,

Current funding for FY 2006/2007 is $11,183,092 for 991 program slots. PSN ig fully stefféd and
_ Operating. . There are no plans to expand this program, but it will be made available to parolees
‘facing revocation. =

~ DAPO staff has been trained on all PSN policies and procedures which were disseminated via.

the CDCR network and during classroom instruction given at the unit level.

- Parole Service Centers

provide transitional housing, community resources, life skills, and support services. The PSC
provides services to. newly paroled inmates with ‘no available resources, as well as homeless
parolees, and parolees seeking stability. They have also been used to support parolees who have
completed remedial sanctions such as ICDTP and who need additional support. The PSC
program has an initial placement of 90 days, not to exceed one year. PSCs wiil now be made -

The-DAPO staff has been trained on all psc policies and’ procedures which wete disseminated
via the CDCR network and during classroom instruction given at the unit level.

‘Day Reporting Centers

' Day Reporting Centers (DRC) address the needs of parolees at increased risk of violating their -
parole and/or retuming to custody. DRCs are already in place, additional centers are funded, and -
'. We are seeking funding for further expansion. This resource will be available to parolees who
might otherwise be revoked, among other parolee populations.

The DRC is a voluntary program and is considered a “one-stop” parolee resource center. At the,
DRC, staff conduct a comprehensive intake evaluation and assessment to determine an
offender's -needs, The tool used. in this process is the evidence-based, “Level of Service

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Inventory-Revised” (LSIR) assessment instrument. COMPAS is not an assessment instrument
that j is used: during the violation/revocation process,

_ A variety of services are offered at the DRC. These services may y include, but are not limited to, .

~ substance abuse counseling, individual, group, and family counseling, Telapse prevention,
"vocational and employment services, job search’ skills, educational services, anger management,
and life skills. The DRC operates between the hours of 6:00 a.m. and 10: 00 p.m., seven days pet
week. Transitional housing i Is also available for qualified parolees.

By December 2006 the DAPO had one DRC operational in Fresno County. The DAPO
continues to solicit proposals and expects to have DRCs operating in a total of six counties
statewide by summer 2007, for. a total of 600 program slots. —

The current FY 06/07 budget for DRCs is $10, 300; 000 for 900 slots, of which 200 are’ currently

contracted statewide. CDCR recognizes that the funding reflects use both as-a parole supervision

tool and as a remedial sanction. DAPO staff has been trained on all DRC policies and

procedures d disseminated via the CDCR network ¢ and during classroom instruction given at the
Unit level.

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contract to DGS for finat approval.
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© rokon.rie, The antlcbated-actlvatton-date-for the Day Reperling Centar in San Disgo may be delayad dua to the Contractor requiring
* fadditional information. The new antlopaled sto dala will be February 1, 2007. The totat afocation for thie profact is $700,006 (half-year

funding). In F¥ 07/08 the total funding for Ihis project wit be $1.4 million,

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t

Residential Multi-Service Centers -,

The Residential Multi-Service Center (RMSC} program was established as part of the Preventing

Parolee Crime Program (PPCP) as mandated by Penal Coile Section 3068. The RMSC program's.

primary goal is to reduce parolee failure and a subsequent retum to prison by providing a variety

of services to-homeless parolees and those in at-risk living environments. The RMSC program
" Offers a variety of services to male and fémale parolees that-include housing, drug counseling,

literacy training, job preparation/placement, anger management classes, as well as individual and
_ group counseling. The progrant offers up to six months of residence with participation in a 90-
_ day aftercare program. Parolees will be considered ineligible if they have backgrounds’ of

extreme violence(Penal Code 667.5 (c)), arson, sex offenses (Penal Code Section 290
- Registrants), or are in need of medica! detoxification. a

The RMSC program currently operates fourtesn-gixteen contracts fora tatal of 522-689 beds in |_
nine separate counties which include Alameda, Fresno, Kern, Los Angeles, Sacramento, San
Diego, San Francisco, San Joaquin, and Yolo. An additional 40 beds in Kem and San Francisco
are pending contract award. co

$15,289,204, The DAPO. anticipates advertising for approximately 46 additional beds prior to
the end of the current fisca! year for a total of 775 beds. this would toave-L14-beds-thatoan-be -
advertised by DGS for interested bidder onee-these-eontracts ate finalized. . -

As part of CDCR Female Reform Master Plan, a gender-responsive Female Residential. |.

Multi-Service Center (FRMSC) program is in development. A Request for Proposal (RFP) for -
_ 75 beds is scheduled to be released February 1, 2007, with an activation date of May 1, 2007.

The RFP proposes three 25-bed sites in the counties of Fresno, San Bernardino, and Santa Clara.

DAPO staff has been trained on all RMSC policies and procedures which were disseminated via

the CDCR network and through classroom instruction given at the unit level,

Female Residential Multi-Service Centers

The objective of the FRMSC program is to promote safe environments where female offenders:
are treated with dignity and respect and receive gender-responsive services. The program

delivers wrap-around services which facilitate successful community living in a crime and drug

free lifestyle. Employment services, family relationship counseling, and gender specific:services
aré also-provided. oo , oO '

_ The DAPO currently has a FMRSC bid for contracts in Fresno, San Bemardino, and.Santa Clara
- for a total 75 bed expansion. DAPO has been approved for an additional 500 bed expansion
_ Statewide for FY 2007/2008. The approved funding for the 500 bed expansion is $13,000,000. -

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Existing Remedial Sanction Programs
In-Custody Drug Treatment Program

The In-Custody Drug Treatment Program (ICDTP) is utilized by the DAPO and the BPH as-an
alternative sanction to revocation for parole violators, Once fully implemented, the present
ICDTP funding level provides for approximately $00 beds annually. Currently, the DAPO has
contracted for 288 ICDTP beds. An additional contract for 150 beds (120° male/30-female) in
Region II/ Los Angeles County and for 75- beds (60-male/15-female) in Region IV/Orange
Counly ‘is being sought with an expected ‘start date of July'1, 2007. The 150-bed site in Region _
IN will be of a new “In-Community” design with a private contractor due to the shortage of
available jail beds in Los Angeles. : mo,

_ICDTP is a three-phase 150-day program where the parolee-participant completes 4 60-day in-
custody Substance Abuse Treatment and Recovery (STAR) program, followed by a mandatory
30-day: residential program in the. community, followed: by a 60-day outpatient program.

_ Placement into the ICDTP is intended for parolees who have committed violations as a result of :
drug or‘alcohol related dependency and/or have a neéd for a period of confinement and treatment
to get their substance: abuse under control. Participation in this program does not constitute a -
break in parole and the parolee will remain eligiblé for discharge consideration, after a 12-month
continuous parole periad. st oO ,

The DAPO continues to aggressively seek out jail bed contracts with local municipalities in the
four parole regions and has also developed a new scope of work to contract with private
contractors for m-custody and residential. beds (Phases I and If) where jail beds are unavailable. -
Further, the DAPO has requested an increase to ICDTP funding to deploy a total of 800 beds in
all four Regions to include additional female and rural area beds. Once fully implemented,

ICDTP will service 4,000 paroice-participants annually;

Current - Currently contracted ICDTP Beds are as follows:

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‘LICDTP FACILITY

REGION BEDS __| ELIGIBLE COUNTIES
| Ker County Jail [64Male | Kem :
REGION I Tulare County Jaii 50 Male ~ | Tulare, Fresno
Del Norte County Jail _-{20Male | Del Norte, ‘Humboldt, Lake, Mendocino
oe Alameda, Contra Costa, Marin, Napa, San
San Francisco. County Jail 30 Female | Francisco, Sa Mateo, Santa Clara, Santa
REGION II -- | Cruz, Solano, Sonoma.
SP . : | Alameda, Contra Costa, Marin, Napa, San
. _| Santa Clara County Jail. 100 Male | Francisco, San Mateo, Santa Clara, Santa
Cruz, Solano, Sonoma
REGION I_| TBD . ;
REGION IV Chula Vista City Jail_ 24 Male . |-San Diego
Total Bed Capacity: 288

Expansions - ~ Additional contracts i in Regions IL and IV and with county and private contractors
are underway. The following table represents the planned expansion in all four Regions of the oO
ICDTP for'a total of 800 beds statewide ie by years end, 2007:.

SCHEDULED

REGION . ICDTP FACILITY _| BEDS - ELIGIBLE. COMMENCEMENT
DATE ,
ay Tulare County Jai | 30 Madera. | Suly 1, 2007
Ulare LOunLY Jal . era, Wy L,.
REGION [ Female Merced
, Fresno _ | 30Male | Fresno . | duly 1, 2007-
TDel _ Norte, [ _
Del Norte County Jail | 10 Male | FmPOM | ty 1, 2007:
oe ‘Mendocino -
REGION II San Luis.
et ; | Obispo, Santa .
San Luis Obispo ‘| 30Male | Barbara, Santa | July 1, 2007
oo Cruz,
Monterey
pt 150 Male -
REGION It - | Los Angeles. 30 Los Angeles July 1, 2007 .
Female
90 Male | mo
Orange County Jail 16 Orange April 1, 2007 . .
‘REGION IV " Female : Coe
90Male |San -
ovation and F acility | 39. Bernardino, | July 1, 2007
’ | Female Riverside
Total Expansion Bed Capacity: 506 —

Total Statewide Bed Capacity:

- $00

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‘There have been many obstacles: to fully implementing the in-custody ICDTP. County sheriffs
have indicated that the reasons they can’t contract for ICDTP beds include:

"©. overcrowded jail conditions,
« ashortage of deputy jail staff, oo :
* and insufficient/non-competitive Daily Jail Rate (DJR) offered by the State,
To date, the DAPO has been successful in contracting for only 288 beds, Further, a shortage of
residential community-based program beds for Phase ff has prevented expansion in various rural -
counties. . oe oe oo

. Electronic In-Home Detention

The use of Electronic. In-Home: Detention (EID) devices provides another remedial sanction
program for parole violators, Not only’as a remedial sanction, the EID will be used in
conjunction with and. complement other supervision tools and service referrals. The, EID

" program is used for parolees who commit minor parole or law violations or for those-who are —
pending a Not-In-Custody hearing. The DAPO will amend current BID policy to expand the
eligible parolee population and criteria. This expansion will include allowing the placement of -
an EID unit on a parolee. prior to a violation occurring, This will allow the AOR greater
supervision and the ability to control behavior which typically results in a violation of parole,
Additionally the expansion will authorize the utilization of EDI ag a remedial sanction to a
previously excluded parolee population. DAPO is also investigating the possibility of |
contracting cell phone supported vendors to enhance the number of units deployed in the field. .

Currently, there are 500 ED units available statewide with an annual program capacity of 4,055 —
, parolees. Existing funding for EID is $1,202,133 annually.

The DAPO staff has been trained on all BID policies and procedures. The training component
included documentation of EID placement and actual application ‘of EID units and équipment.
. The DAPO shall ensure that BID training is incorporated into the DAPO Parole Agent Academy.

Parolee Substance Abuse Program.

The Parolee Substance Abuse Program (PSAP) is-a remedial sanction program composed of a
90-day in-custody educational dnig treatment phase followed by a 90-day voluntary community
aftercare. The 90-day in-custody phase is an educationally-based cognitive behavioral drug and -
alcoho! abuse rehabilitation program for male. parolees at the Folsom Transitional Treatment
Facility. The curriculum used is the Deciding, Evaluating, Understanding, Counseling,
Educating (D.E.U.C.E.) curriculum model. The model is presented in three 30-day phases, with
an evening independent study component.

‘Currently, there are 200 PSAP beds available; in them, the program is to designed to annuaily
serve 800 male parolees who have committed violations as 2 result of drug or alcohol related ©
dependency and/or havé a need for a period of confinement and-treatment to get their substance

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_ abuse under control. In addition, PSAP: provides parolees completing and/or graduating from the
program the opportunity to participate in substance abuse treatment in the community. This
phase of the program is managed by the Substance Abuse Services Coordination Agency,

~ Current funding for FY 2006/07 is $1,141, 153 for 200 beds. Funding for each of FY 06/07,
07/08 and 08/09 is $1,111, 153, for a total contract of $3,3 333,459, There aFe TIO Plans to expand
_ the PSAP operation,

DAPO staff has been trained on all PSAP policies ‘and procedures which were disseminated via
the CDCR network and during classroom instruction given at the unit level,

Existing Programs and Activities That Support Remedial Sanctions

. Risk and Needs Assessments Through a Validated Research-Based Tool

The Parole Planning and Placement (PPP) Program provides proactive involvement, ‘within the
institutional setting, in. establishing and solidifying parole plans for inmates’ prior to their
- release to thé community. The PPP team obtains pertinent information about offenders and
utilizes this information to complete a criminogenic” risk and needs profile, as. well.as to.
develop a specific re-entry plan that maximizes a parolee's opportunity to ‘successfully
‘reintegrate into the. community. The PPP Program is currently operational within all. -
33 California state prisons with specifically assigned and funded staff of over 50 sworn and
support personnel. PPP staff is responsible for facilitating the re-entry plans of inmates and
creating a linkage ‘to community resources and services to assist in stabilizing newly” released
. parolees. The PPP Program has developed a network of local community resources,
governmental services, educational opportunities, and treatment programs for parolee referrals .
and ireatment placements.

DAPO recognizes recidivism reduction begins with accurate risk and need assessment prior to

' release back irito the community, DAPO has secured the Correctional Offender Management
Profiling for. Altemative Sanctions (COMPAS),which is.a database/program assessment with
the: capability to adapt to. the dynamic and ever changing needs of the parolee population.
(COMPAS) is a nationally recognized risk/needs assessment tool which is by correctional’
facilities and county jails throughout the country. The utilization of the COMPAS tool will.
enhance parole supervision by providing ‘parole agents research-based risk: and needs
assessment data which, can be used i in L past- -release ‘Program planning.

A basic COMPAS program was used in a pilot implementation program from July 1 through

_ November 30, 2005, by PPP’staff to establish a “norm” for the California offender population,
Upon conclusion of the COMPAS pilot project and after extensive analysis of its feasibility, a
decision was made to incorporate COMPAS into the DAPO’s cache of tools in its continuing -
effort to serve the offender population. The PPP program has continued to work closely with
the COMPAS developer, Northpointe, and the DAPO’s information technology staff, in order
‘to’ tailor the COMPAS program io meet the unique characteristics and challenges of the
California offender population. -

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After further technological. modifications and enhancements, the COMPAS program was
deployed statewide in March 2006. In addition, a template was. developed within COMPAS
that enabled critical offender information to be captured within this program (i.¢., residential
information, drug of choice, and registration requirements), This information enables the
pardle agent to accurately: assess Supervision levels and determine specific service needs of the
offender, . Ss Co °

New Policies aud Procedures. |

The DAPO is committed to developing and implementing policies and procedures that reflect
sound judgment, ‘incorporate best-practices, and provide for public safety, while providing
benefits and services to assist parolees with reintegration into society. Furthermore, DAPO is
commitiéd to ‘obtaining. input from key stakeholders when reviewing current policy or
‘developing new policy pertaining to the revocation process.

~ Current policies are being revised to comply with the Valdivia permanent injunction and-include ©
the following: oo co

*, County-To-County Transfer Policy: The DAPO realizes that. many. of its remedial
sanction programs are limited to the parole population located in the immediate program
_ area, DAPO is curtently reviewing its Transfer Investigation Request (TIR) policy with
.- regard to parolees in need of a specific program that may not be. available within their
- Fespective county of last legal residence. The goal is to develop policy that removes the.
geographic restrictions placed on some programs and increase the accessibility of
‘remedial sanction programs to all parolees. The DAPO is committed to removing
obstacles that can restrict a parolee’s ability to be placed in a reentry or remedial sanction
' ‘program, despite its location within California. a ot
* Change in DAPO Redaction Policy: The DAPO has been working collaboratively with
’ the Special’ Master and the plaintiff's attomeys to develop policy and practices that
ensure the due process rights of parolees’ are upheld throughout the revocation process.
The DAPO is currently revising its redaction policy with the goal of providing attomeys
un-redacted information in a timely manner as necéssary to create an appropriate defense
for their clients.

. Updated Staff Training

The DAPO is committed to ensuring that all Field Unit Notice Agents (FUNA) and:
Decentralized Revocation Unit Notice Agents (DRUNA) receive training on all aspects of the
Valdivia process, to include notice of rights, effective communication, and reasonable
accommodation. Additionally, any mew training shall incorporate the latest policies and
procedures, as well as any additional information regarding disability accommodation equipment

usage. Approximately 23 FUNAs and DRUNAs have been recently hired and are in need of the ~
requited training: The Americans With Disabilities Act/Revocation Unit is currently

' coordinating with each Regional Training Coordinator to schedule the necessary training. Initial:
implementation of the training shall begin in late January 2007.

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The DAPO is also committed to ensuring staff are continually trained in all aspects of the
. Valdivia Remedial Plan. This training was initially delivered to all DAPO staff in early 2000.
However, recognizing the need to ensure that staff is up-to-date on current issues related to
Valdivia, and standards and practices, the DAPO is currently developing a curriculum with the
. goal of providing initial, refresher, and updated ‘training to all DAPO staff on Valdivia issues
'  within-the next 60 days. : . Lo .

“Information Technology Advancements

DAPO understands the importance of utilizing . current technologies to enable effective
decision-making and modifying inefficient processes that create the inability to maintain due
process timelines. - Moreover, effective use of technologies enhances the DAPO’s ability fo
» comply with all aspects of the Valdivia Remedial Plan. The DAPO and the BPH are committed _
to further enhance the Revocation Scheduling and Tracking System (RSTS) to better meet the.
‘Valdivia requirements, including demonstrating. decisionmaking about remedial sanctions at all
related decision points, avid demonstrating the actual use of these measures, Additionally, the
DAPO and the BPH have initiated a study on the feasibility of Revocation Packet scanning, with
the ultimate goal of enabling immediate electronic access to documentation and records required
for the revocation process, — - J.

Revocation Scheduling and Tracking System Program Updates

On November 13, 2006, the:court ordered the BPH and the DAPO to implement a change
request to RSTS by May 13, 2008, as. recommended by the Special Master. There are
_ approximately 26 change requests at this time. After meetings between the BPH and the DAPO,
a decision was made to contract all of the change requests to Riley Consulting, with State staff
implementing four of the simple change requests in order to gain experience with the contractors.
~ The Special Master change’ requests were sent to Riley Consulting for an estimate. The project
manager has provided the DAPO and the BPH with an estimate for the Special-Master change -
requests to RSTS in time, schedule and costs. , me

Program Evaldation Efforts

Mandated. by Penal Code (PC) Section 3068, the California State University, San Marcos
Foundation evaluated the major service components of the Preventing Parolee’ Crime:
Program (PPCP). These include residentiat multi-service centers, literacy laboratories, substancé
abuse education, drug treatment networks, employment readiness, and job placement assistance.
The consultant released its report to the Legislature in December 2003. The evaluators found
that PPCP participants who met treatment goals had a recidivism rate of 15.5 percent for
residential multi-service centers, 25.7 percent for the substance abuse network, 26.5 percent for
the literacy program, and between 28.5 percent and’ 33.1 percent for the two employment
programs. vo Se ,

The report indicated that residential programs with wrap-around services such .as the multi-
service centers show a significant decrease in recidivism rates As stated in the PPCP report, .
. parolees who complete treatment goals fe-incarcerate at lhe rate of 15.5 percent within the first

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12 months following release to parole, compared to , 55. 2 percent of those parolees who stay less
than a month j ina RMSC facility. —

Effective uly: 1, 2006, the DAPO initiated an additional project with the California State
. University, San Diego Foundation, to evaluate selected programs that. have either been in.
operation or are new program initiatives. This two-year program evaluation will include the
_ ICDTP, Day Reporting Centers (PRO), and the PSC and is is tentatively scheduled to be delivered
in December 2008, '

Supporting Medically and Mentally Impaired Parolees

In July 2006 the DAPO implemented a pre-parole program to assist offenders who have medical
ot mental-health challenges and who may not have a:family support system’ im the community.
Research has shown that offenders who have physical or mental disabilities are more likely to be
homeless and/or live in unstable environments: This program utilizes contracted social workers
' . (benefits workers) within the prisons to apply for and secure federal and state benefit. -
entitlements prior to. an inmate's return to the community. Benefit exititlements addresaed in this
program include Social Security benefits, such as Social Security:Supplemental Security Income
or Social Security Disability I Income, California state-sponsored Medi-Cal benefits, and Veterans
Affairs benefits.

The program also utilizes contracted staff within the prisons to plan and coordinate necessary
community-based care for inmates in need of medical and/or in-patient mental health services
upon release (¢.g., hospice, hospital/acute ‘care, skilled _tursing/long-term care, board and
care/assisted living, in-home health- care; dialysis, oxygen [intermittent and continuous},
chemotherapy, and medications).

“By directing parole services to those inmates who are medically, mentally, or developmentally
disabled, enduring a long-term illness, or have reached the age of 65 years or older, the DAPO is ©
taking a proactive parole supervision approach. In collaboration with the California Department
of Health Services, the United States Social Security Administration, and the United States
Veterans. Affairs, the CDCR is also exitering into formal agreements with these respective
-agencies to. establish pre-parole benefits. It is estimated that approximately 17,000 or 15 percent -
of the. annual. paroling population will apply for services utilizing this program. The DAPO
modeled this benefits program from existing programs in other states, with proven success as
evidenced by a 2005 federal grant study.

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Clinical Services for Men tally Til Patients”

In July 2006 the DAPO began enhancing the current Mental Health Services Continuum
Program and implementing a “reducing recidivism" program which increases.the frequency of
clinical services to mentally ill parolees and those identified as being at a high risk of re-
offending. A total of 60 new clinical positions have been established to provide an increase in
services to.this population. Staffed within the Parole offices, these clinical staff members are
~ available to the Agents to assist then when dealing with a parolee w who is decompensating from
mental health j issues.

The target population: includes -all inmates who are within 90 days of release to. parole
(approximately 17,000). Intervention through increased frequency of clinical services to
parolees and specialized treatment will assist the DAPO in improving successful reintegration
into the community -

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- EXHIBITN

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Califo ria’ ‘Department’ Goteections and Rehabilitation
Division, of Adult Pacole Opersiions |
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February 15, 2007

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ditected. CDCR io replace . the two specifi io
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ODER Is: committed: 40 ‘complying with the: court's order. "GDCR hay. eetablished th the: in
Diug: Treatment Program (ICDTP)-as a. somparative program: to: SATCU, and the Electronic
In-Home Detention (ELD).9s.9 prograr ¢ompartbleto.EM: Ia responsé.t6 Chase Rivelandl’ 'g,
Speciat Mazter, letter dated Jisly 4,.2006, affording CDCR the opportunity to redraft the remedial
. enelioae Bottiog of the Remedial Plan, the CDCR submits, the: following Remedial Sanetions
ait

Chintenthy,: the FCDTP i is: weed as:8 replacement’ for. the’ SATCU ‘beds. aid is: ised ex
remedial sanction in the revocation process: It will continue. to: he-used.as such. “tt
may 0 niddified in sotng reas as an Tn Comunity” IGBTP th address: the shortage 6
county: and:state. faeilities, DCR rece prizes: that-its: curhente! funding, and bed availats iy fi for

‘than. that established:and. fuaded-at the-time: Al 11,.2005, memorandum.

sively. aga

Division of Adult Parole: “Operations DAP) | ‘based on the: ‘population: redactions realized by
| diversidh, of parole violaters;to progranis sather than. placement i in. CDER ‘institiitions: With.
‘those furidy, CDOR will Skpand the ICDTP to the’ stimé Tovgl that’ wis in ipliieu prior to
April 11,. 2005; to.the extent that there is-a:population requiring these services, Additionally, ‘the
- Perolée Substances Abuse Progrant (PSAP) is: tiséd exclusively as, aremedial sanctions: progtant,
It will now:be dedicated ax: put of the Valdivia Remedial Plan.

‘la addition; the following Programs shall. dedicate one-haté of’ their available beds fo use as
-temedial-sangtions until sugh.time that the CDCR can teach the leveliof icp beds required by
‘the: Inne:8, 2. ordet’
‘Parole: Se vies Centers rs
. Residential Multi-Service Center (RMSC)

However, CDCR -tecognizés that it has an obligation'to the citizens of the:state.of California not

to waste resources, If there-are more beds-available through these-programs than are needed ‘Tor

parolees ‘going ‘liougli thé violation prowess, the CDCR. reserves: ‘the right to use! thé —
aforementioned. programs for parolees on general perofe supervision. fn addition it

recognizes that the programming. needs of the. parole: ‘Population may change, CDCR t6é

its obligution to’ mget and‘ confer with Plninerfiy and/or obtain authority: through: the Court or -

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Aida Sanction’ 4a defined’ ay: thie referral ‘to piowtsins th ile fe allies -iglations ‘of
parole :as-an ‘alternative to ‘incarceration, "Programs ‘include, but: are not Limited ‘toy ‘those -
_ contracted by CDCR: end-those:plasementsincommuniity. selfibelp ovkpationtationcats ‘programs,
dod plagementin, sernenabetl ahd 4 Sipervised: epvitonments, ,

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‘National. Lnstitite of Correations. NIC) fortes nical Suppor as DCR.

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algo available through: if the revocation. progess: Inf Boos sit:
‘tera t 1 APORKARN. at the init level; ‘the. parolee tall be
- -on-Barole: {COP):and voluntarily placed: inito ‘the ‘program. :

The California Code of. of Regains ‘Title 45, Division 2 § 2616 and: PC $6 66 5. and. 1192: 27

“ . procedure

- LiteCistady: Dig’ roatment Program

The ICDTP is-teserved. for pardleds:in. the revocation’ process. Referral to be AeDTP
annie ‘throtighaut the.revocation provess.as on alternative to:revocation.for parole: violafors., The
prograni ‘is: intended fo assist parolees Who have: sormmitied parole. Vidlations a8:8 Basil of drug

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The quirent fiscal year © (PY) oe/or bidget for ICDTP ig, $24; ‘whith:“pt
approximately 513 ‘beds;-of swt, 586° beds are orion ar for statewide,

ae additiondl 78 fads: at itythat.
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anti pated that set beds: wil be operat
“td provide a:
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: 2 ore ‘ode thet wit; sovide. aTnik, afb based and.”
j private beds siniewide.. Contractors. wi be sought in: merely sya as-well as in, smaller
. alities: that “Will's tiple: counties a “ait Op
Once: fully implemented “and operational, IGDT
statewide:,

_ “Distil the comrnuinity-beseit ICBTP beds Q
- “Center (PSC) ind BMSC. progedtis a: d RMSE
available with first prority-as-aremedii Ls pogrnn: space -Teft vacant :
‘from, tsek of remedial:sanctions se-will be used. as. aparale, supervision tool during this interim’
tine. A Eve at ‘ite time TCD EE. is fully i fr element priority will 16 -tetiger: be aiven, Ww

“Further; PSE and MSC will no longer bec 201 a al: Sar
cunder-the Remedial Sdneticris. Plan of thie Inet eas rpuomen fr the SATCUL beds

Pariter' Substance ‘Abuse Progr: (PSAP) .
‘The PSAP i a ‘pertedial sanction intended ‘to assist parolees who have: connrnittea: parole ,

‘violations, as arésuit of diag and/or alvohol related-dependency, The’ ‘progeam is: composed of, a
o day. incouitody echugattonal ane treatinent program, fall

paroles ft driigalcokel atinse ishabilitation ira as
“the in-custody portion of the program, parolees: are ial
“substance abuse treatment. within the cormmignity,

“Phe current PY.06/07 budget for PSAP is: $1, TL 158, for 200: available SAP beds, with the. casa
-of serving 3005 ‘parclees enmially

‘ these beds” will: be dedicated:to -the 3 TO¥
operational.

BID devices provide another casewori 100) 1b
‘based upon the:need to impose:a curfew special:condition, iparole:due'te behavior: that warrants

“ibe: intengive :pirdte. supervisiol
_conipliment, other’ supervision touls anid service referrals,

are ‘pending, a Notsin-Custe .

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Residential Mult Servive Centers

is intended :tocreduce parolees” ‘relum+to-cnstot 'y by-providing:a:variely-of
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hg, “Ad tionaly,, pardives. designated to: be tn the -
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Pisgram (EOP) who ate-cleared bya Parole: Ontpatient Clinie:(POC) clinician aay panticiyate. .

The’ DAPO shall’ ‘ipleitzent new policies that: Allow utilization ‘OF RID for parolees: previously
cexcluded due to: their.commitment-offenae-and/or. criminal: history:

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“The-use of EID devices: May ‘be-used as a: remedial ‘ganction and. ‘when: ‘a situation pedeasitutes
enhanced supervision for PUbHE safety , PUIPOSES.

DO2T38 4 for 500. units.. “OF these: 4500 us DAPO
iy for use as. remedial: sanction.

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Anonynous/Alcohofi # Ananytnous, i or-other- setfshelp program, “These: “progtatnacserve:a dual,

purpose: they canbe used-as a parole supervision. tool ot they can be. ised’ asa. remedial
Smiption. The CDCR cannot commit:
remedial sanctions. Any parolee who meete-prograin aligibility may be considered for. scent
ina ‘CDCR program as a sanction for: 4 violation of parole. .

arc 2 needs: the eCpeRy Seiitionally

propane and conbricted services to ensure > that thoy reflect best practives, ‘Fh dott

arguinetit and irits Tune 8, 2005, Order reinforced.tha‘State’s. Authority te “URE: edistretion to. select.
what: types of: programs :meet the: Fequirements of “tbe ty

-prograrie are desijmed to ose

programs that’ best servi’ ‘the het

E elif vase programs: which Are: currently ‘available: for-use-.
bth AS: remedial: sanetions arid as:casework services: tools.

Substance Abuse ‘Treatinent. and Recovery

AR program: ig A reraidial sanction ‘nitetided 40 Assist: parolees -who have: ‘eomrnitted
olations aaa result of drug. atid/or alcohol: related dependetioy,. The STAR prograni

“provides a B-day: education based progrenr which. offers proactive: methods to:prevent siibstance

abuse Télapse. Curticutum ‘component - inélude relapse prevention, : ‘recovery: From : addiction,
” -anper-naragement, and-health education,

‘The Cirvent FY 06107 budget for the STAR pogrom is $2,198,946 sor 409 slot CDCR
recognizes that the’ fhedinat reflects HSE, both. as @ parole supervision fool and as a: “remedial
sanction.

Day Reporting Contes

The DRC isa -eotinntiity-based program; ‘which can be uisi-as a parole eupervision tool or-ag-an
alternative to incarceration when-a parolee hes violated thie. terms of his or-her' parole becaiisé:-the
DRCs provide services which address the core reason for t “of parole. DRC staff _
develops an individyat plan for each parolee’ to addiéss -the needs and Betvices -f
increase the parolee’ 's success On. patole. These services inchide, but are'not Honite te

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abuse Counseling, inflividaal, group, ond taenily-00 counseling, relapse: prevention dueational-aud:
‘blo piel onvices, sber living,’ ant “aner Mainagementlife: skills.cthucatian.

The'shirait FY 06/07 ‘budget fi DROW.
‘fonding: ‘+t¢flects use. bath as. Bi b]e supe

110,300, 00 for 960 slots, COCR 2
‘ion tool and 43-0. remedial: SoHiOn:

act ‘to’ provide equi abeess ito remedial ganetion: progr, the: eDCiYs .
a icy ‘swilk: ic-testtictions place remedligh: sanction
programs: -andSnerease the accese lity ‘of remedial. ‘sanotions programy 't6 : ge The
COitity-to-conlhiy mansher ‘policy will allow female: parolees. preesy: torremedial san
* ‘thitoughoul the Site, a

‘COG shalt ensure’ sal acess to esti. sanctions foisparolées’ with digabililies, ax outfitted:
inthe ‘virmstrong:Remeiial Plan: and Ateritans: with: Disabilities Act, -

adequately ‘track ection with. the requiretients-olthe Hil
the CDCR is dedicated. te: ‘implementing tracking toe which | are:
§ Seiry ro. ineasare ‘coanplanice

Chanities i in: te Revocation Schoting and ‘Trckn ‘Aystein (RSTS; “are. necessity: to dosument
those oases where a patelee 3 id: to:a-rembdial sai and.

2 : ves: ‘that neve’ BEY -
modificatia ‘be made to STS to mote: ciety track the. consideration ‘of ‘remedial.
sanctions at. litfle-or:- Hig cost ite the Stat ¢ wine tay
gates where a parolee!is contiimed:,

Warranted, , °

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‘wanerro-

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Case 2:94- cv-00671-LKK-GGH | ‘Document 1323

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O° 8 NA HW PB WH SE

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Oo Oo NSN NA RD UB ON

1315 Montgome

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Attomeys for Plaintifis

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Filed 04/04/2007 Page1of10

UNITED STATES DISTRICT: COURT
EASTERN DISTRICT OF CALIFORNIA -,

JERRY VALDIVIA, et al.,
"Plaintiffs,

v.

ARNOLD SCHWARZENEGGER, etal.,

Defendants.

~ No. Civ: $-94-0671 LKK/GGH »

STIPULATION AND ORDER
‘ REGARDING REMEDIAL
SANCTIONS -

: STIPULATION AND ORDER REGARDING REMEDIAL SANCTIONS, No. Civ, 5-94- 0671 LKK/GGH ~

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2

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|| AS FOLLOWS:

fairness hearing, the Court approved: a Stipulation for Permanent Injunctive Relief i inthis .

SD 8 St A ow om owe OUND

-|| treatment,” ” including “the Substance Abuse Treatment Control Units, Electronic.

| Defendants set forth a specific goal for remedial sanctions, “to reduce the number of returns

‘the new parole revocation process, atid that the remedial sarictions include (2) the

Subs tance Abuse Treatment Control Units, Electronic Monitoring, Self-Help
Permanent Injunction *s ‘ “reference to and attachment of the VRP [or. Valdivia Remedial Plan
‘| elimination of the remedial sanctions of Electronic Monitoring and SATCU.” (June. 8, 2005

Drug Treatment Pro grams (“ICDTP”) and Electronic Monitoring with Hiectronic In-Home .
i Detention (“EID”). Whether and to what extent these new programis are appropriate

THE PARTIES, THROUGH THEIR RESPECTIVE COUNSEL, HEREBY STIPULATE

WHEREAS:
od On March 9, 2004, after notice to the class, receipt of objections, and a

matter (the “Valdivia Permanent In junction”), requiring among other things that “as part of
the overall reform of the revocation process, the Parole and Community Services Division

of the Depattment of Corrections will begin using remedial sanctions/community based

Monitoring, Self- -Help Outpatient/aftercare programs, and alternative placetnent in

structured and supervised environments. ” Valdivia Permanent Injunction, Exhibit A at L.

to Prison for violations of parole by up to 10% in 2004 and by up to 30% by 2006. ” Tah at 2,
2.- On June 8, 2005, after notice and a hearing, the Court ruled that “the

permatient injunction requires that defendants (1) consider remedial sarictions throughout |
Outpatient/aftercare programs, and alternative placement in structured and supervised
environments.’”” (June 8, 2005 Order at 10:7-12.) The Court held that the Valdivia

at Exhibit A].. _ conforms with the “four comets rule’ as well as Rule 65(d)” and found that |

Defendants “were i in violation, of the. Permanent Injunction Order by virtue of the

Order at 8:12-14; 15:19-21 )
3. - Defendants have stated their intention to Teplace. SATCU with In-Custody

STIPULATION AND ORDER REGARDING REMEDIAL SANCTIONS, No. Civ, $-54-0671 LKK/GGH 4

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1 substitutes, and are being implemented in a manner that substantially replaces what was lost |
2 || when SATCU and Electronic Monitoring were elitninated has not been determined.

3-]I.. 4. On July 4, 2006, the Special Master directed Defendants to “prepare a new .
remedial sanctions plan, to be presented to the Special Master and ihe Plaintiffs’ attorneys
|| no later than November 30, 2006.” ” Specifically, the Special Master stated that “the plan

4

5

6 || should include: any changes in programis, Policies or courses of action that meet the spirit

7 |} and proj jected. numbers of the original remedial sanctions plan,” and that “the plan. must ”

8 jinchide specific details concerning the pro grams to be offered; the populations for Which

9. they ar are designed; the logistics required to design, fund and contract for, and oversee the .

«10 progtams, including training of BPH and DAPO staff in using them and anticipated
11-|| timelines for each of those steps. mS . .

12 || 5. The parties disagree as to the scope of Defendants’ obligations pursuant to thie |
13. Court’s Juné 8, 2005 Order and the Valdivia Permanent Injunction, and reserve all rights to

14 resolve this disagreement either with the assistance of the Special Master dispute resolution
15 process or through litigation. The parties agree, however, that certain steps must be taken
16 | immediately to ensure timely compliance with the remedial sanctions provisions of the
17 || Valdivia Permanent Injunction. Defendants contend that the steps recited herein may bring
18 || them into substantial compliance with the June 8, 2005 Order. Plaintiffs disagree, arid in

19 any event, believe that full compliance with the Permanent Tiajunetion i is the important.

© 20 |[target. OO oo a co

21 6. The parties have been meeting and continue to meet regularly with the Special

~ 22 || Master concerning remedial sanctions. The Special Master j joins in the parties’ request that

23 the Court enter this Order, i in furtherance of the remedial process.

24}! THEREFORE, IT IS HEREBY ORDERED THAT: .

25 |/ 1. _In Custody Drug Treatment Program (ICDTP) .

26 A. Defendants have stated that their goal is to establish 1800 ICDTP beds.

27 || Plaintiffs have not agreed that there is any evidence that 1800 ICDTP beds is the.

| 28 appropriate number to ensure that ICDIP is made reasonably available at all stages of the

: . STIPULATION AND ORDER REGARDING REMEDIAL SANCTIONS, No. Civ. $ -94-067 | LEK/GGH . ‘ 2
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pardle revocation process. Defendants represent that approximately 288 ICDTP beds are.
currently operating as of March 16, 2007, Defendants shall miake every effort to make 1800 |.

—

ICDTP beds available for use as rernedial sanctions 1 no later than April 1, 2008. Ih the
interim, Defendants shall take the following steps:

. B. - Defendants shall make every effort to have 150 ICDTP beds operational and
available for use as remedial sanctions for parole violators in Los Angeles County no later
than Au gust 1, 2007, including at least 30 ICDTP beds designated for female parolees.

~C.. Defendants shall make every effort to have 90 new JCDTP beds operational.

PO SA wh & WN

and available for use as remedial sanctions in Orange County no later than November I,.

o

2007, including at least 30 ICDTP beds designated for female parolees.
dD. «In addition to the 528 ICDTP beds discussed, above (288 existing plus 1501 in
Los Angeles County plus 901 in Orange County), Defendants shall take all steps necessary to.

— ee
ww NM Re

‘ensure that they reach 1800 beds by April I, 2008 i ina phased manner. ‘Defendants shail

—
&

phase } in the remaining 1272 beds with the following targets: by November 1, 2007, 424

_—
7 A

additional beds anywhere in the state; by J anuary 1, 2008, 200 additional beds anywhere i in

mee
nA

4] the state; by February 15, 2008, 200 additional beds anywhere i in the state; and the balance
of 448 beds by April 1, 2008. With the addition of these beds, by April 1, 2008, there shall
be no fewer than 400 ICDTP beds per Region, and no fewer than 40 ICDTP beds desigriated

for female parolees in each Region. Defendants represent that they are makin g and will |

hw
So

continue to mike special efforts to secure ICDTP beds in underserved areas of Region IV.

be
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E. The figures 1 in this: section are not intended to establish any set ratios of male |
to female beds. . . :
FB _ Defendants Shall periodically report to the Special Master and Plaintiffs’ .

Pow oN
_& GO 8

counsel on their efforts to secure the ICDTP beds described herein with the first report due

bw
Ln

June 1, 2007, and with reports 2 as needed thereafter, and at least every 60 cays

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I. Blectronic In Home Detention (ID)
By May 1, 2007, Defendants shall have 500 EID units operational, with 250 of

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co Ml

STIPULATION AND onpie REGARDING REMEDIAL SANCTIONS, No. Civ. 5:94- osit LKK/GGH 3
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" Case 2:90-cv-00520-KJM-SCR Document 2242-4 Filed 05/24/07 Page 37 of 72 _
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1 || these units dedicated to use as remedial sanctions, and the remaining 250 available for. use
either in parole supetvision or remedial sanctions. CDCR will provide the roinitnal level of
telephone service required for BID as described i in DAPO policy no. 07- 06 at the discretion
of CDCR.

TIL: Interim Use of Residential Multi-Service Center (RMSC), Female Residential Multi-
Service Center (FRMSO), and Parolee Service Center (PSG)
8 A. While Defendants are building their ICDTP capacity leading up to 1800 beds
- 9 |! by April 1, 2008; Defendants shall make existing and proposed RMSC, FRMSC and PSC -

a A WP Ww WK

10 beds available for use as remedial sanctions in the manner set forth below. -
11 ~ iB. Beginning immediately, and during the above-described phase-in period for
12 ICDTP, Defendants small make one-half (1/2) of all RMSC, FMRSC and PSC beds -
13 available as remedial sanctions. —
14 C. Defendants represent that they are makin g and will continue to make: special
© 45 efforts to secure RMSC, FRMSC and PSC resources in the underserved areas of Region IV.
16 || D, The parties shall meet and confer, on or before April 30, 2008, as to whether, |
AY and! to what extent, the RMSC, FRMSC and PSC programs shall remain available as
18, remedial sanctions,
iol} E. The intent of this section i is not to give RMSC, FRMSC, and PSC the s: same
20 status ‘under the Valdivia Permanent Injunction that ICDTP and EID may’ have.

22 |I TV. Distribution of Policy and Procedure Information
23 |]. A. Defendants shall undertake to announce, publicize and train the management
24 |/ and. dstaff of DAPO and BPH regarding the availability of ICDTP, RMSC, FRMSG, and PSC
: 25 beds, as well as EID-units for use as remedial sanctions in two phases: all immediate
Dh 6 interinn p phase, and a long-term phase. .
a7 |}. 1, Interim Memorandum to Field By March 30, 2007, Defendants shall

28 provide Plaintifis? counsel and the Spécial Master with a draft interim communication to the |:

. " STIPULATION AND ORDER REGARDING REMEDIAL SANCTIONS, Na. Civ. §-94-0671 LEX/GGH | 4
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1 field regarding the availability of ICDTP; RMSC, FRMSC, and PSC beds and EID Units for | -
2 use as remédial sanctions, including all information that Defendants believe is necessary to
3 facilitate immediate ‘use of these progr ains as temedial sanctions, including but not limited
, to a statement the above-listed programs are available as remedial sanctions, attachment of :

existing policy and procedure: documents regarding their use, existing inclusionary and

4
5
6 || exclusionary criteria, and lists of the program names, contact. information and stumbers of
7'|{beds. The-interim memorandum shall also include information regarding other. readily -
8 identifiable existing programs that are available as remedial sanctions, and a statement as to
9 what populations they are ‘available for, including but not limited to the Department of
10 || Addiction Recovery Services SASCA aftercare programs for qualified parolees, the
u Community Based Coalition (CBC) ptograin in Los Angeles County, and. DAPO Day
12 |} Reporting Centers. The Interim Memorandum to Field shall also include appropriate
13 preliminary information on inter- -county transfers, as discussed at Section VLA, below.
“14 Plaintiffs’ ‘counsel shall respond to this document no later than April 3, 2007, and
“4S Defendants shall distribute it to the. field and to the paroleé defense panel as soon as possible -
16 thereafter. .
17 2, Long-Term Memorandum to Field, Defendants have ye tepresented that
18 they ‘intend to undertake revisions to. ICD TP, EID, RMSC, and PSC policies and procedures
19. || to facilitate their use as remedial sanctions, including but not limited to reviewing and
20. reconsidering exclusionary criteria to make the programs more widely available.
21 (Defendants represent that FRMSC: policies and procedures have not yet been written, and
_22°|| will be written to comport with the principles stated here.) By May 1,'2007, Defendants -
23 shall provide Plaintiffs’ counsel and the Special Master with a draft long-term. memorandum
24 to the field regerding the availability of ICDTP, RMSC, and PSC beds, as well as EID
25 f Units, for use as remedial sanctions. The long-term memorandum shall also include
26 information regarding other readily identifiable existing programs that are available as
. 27 remedial sanctions, and a statement as to what populations they are available for, including

28 but not litsiited - to the Deparitnent of Addiction Recovery Services SASCA aftercare

STIPULATION AND ORDER REGARDING REMEDIAL SANCTIONS N Na, Civ. 8-94-0671 LKK/GGH 5
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_2

programs for qualified parolees, the Community Based Coalition (CBC) program in Los

Angeles County, and DAPO Day Reporting Centers. The Long-Term Memorandum to.

Field shall also include information on inter-county transfers, as discussed at Section VL A,

below. Plaintiffs’ counsel shall réspond to this document no later than May 15, 2007. ‘The

parties shall meet and confer on May 31, 2007 regarding. the Long-Term Memorandum.
Defendants shall make all reasonable efforts fo distribute it to the field and to the parolee -

defense panel no. ater than July 2, 2007,

B. Defendants shall. also develop, after consultation with Plaintiffs’ counsel and

the Special Master, no later than August 15, 2007, an implementation and training plat to

asslire that remedial sanctions are reasonably considered at each stage of the parole
revocation process, and are appropriately and fairly available to parolees.

C. Defendants agree to evaluate remedial sanctions programs. The inclusion of
this requirement i is not a concession by Defendants. that evaluations or their criteria are’. -

within the-scope of the Valdivia. Permanent Injunction.

‘Vv. Graduated Sancti onis/Parole Violation. Matrix .

Defendants have represented that they are investigating the development and. use of

a decision- “making matrix to provide DAPO and BPH decision-makers with CDCR

| supported and community-based alternatives to incarceration for response to violations of |

parole. Defendants shal! report to the Special Master and Plaintiffs on the progress and
results of this investigation no later than July 1, 2007, and periodically thereafter as

necessary, but at least every 60 days until completion of the matrix investigations ot -

resulting matrix impiementation.

VI. Fair Consideration/Equal Access
A. County to County Transfer Policy
The interim and long-term memoranda described above at Section IV.A shall include

appropriate statements of the remedial sanctions county-to-county transfer policy. The —

"STIPULATION AND ORDER REGARDING REMEDIAL SANCTIONS, No, Civ, §-94 0671 LRKIGGH , 6

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1 | Memoranda shail explain that temporary placement of out-of-county parolees in remedial
2 sanctions is not restricted by the 5% limitation on out-of-county transfers. The Memoranda
“3 '|| shall expressly state that an otherwise eligible parolee shall not be excluded from a remedial
4 |! sanctions program based solely on the unavailability of that program in his or her county of |.
residence or Parole Region. The interim and long-term: memoranda shali direct decision- -
makers to inquire about the availability of an appropriate program anywhere in the state and.

5

6

7 || provide directions for ascertaining availability of a placement and effectin gan out-of:
8 || county placement. The appropriateness of a county to county transfer is within the sole
9

discretion of the CDCR.
10 d B.  ~Parolees with Mental Disabilities.
i | o> Tn establishing the 1800 ICDTP beds referred to above in Section LA, above,

12 Defendants shall make every effort to secure 20 beds in each region targeting the needs of
, 13, parolees with dual diagnoses of mental. illness and substance abuse. These efforts shall be

14 documented in the periodic reports cescribed above at Section LF.

. VIL Unresolved Subject

7 Among the remedial sanctions subjects that are as yet unresolved, the parties agree |
a8. to engage in further negotiations on the following topics and to file a Status Report with the
19. Special Master on said negotiations by September I, 2007. Among the remaining disputes -
50 are whether and to what degree the issues below are within the scope of this case.

aL AL Alternative Placement in Structured and Supervised Environments:

8 Clatification regarding Defendants’ currently funded, currently operating, and Proposed
3 CDCR and community- -based residential programs available to DAPO atid BPH staff for use.
4 |] as remedial sanctions. - a

95 B.. Self-Help Outpatient/A ftercare Pra grams: Clatification regarding Defendants’
36 currently funded, currently operating, ‘and proposed CDCR and community-based Self-Help
7 -Outpatient/A ftercare Programs available to DAPO and BPH staff for use as remedial

93 sanctions.

STIPULATION AND onDER REGARDING REMEDIAL SANCTIONS, No. Civ, $-94-0671 LKK/GGH a

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1 . Cc. Parolees with Disabilities: Defendants’ plan to provide remedial sanctions to

parolees with disabilities that are the same or equivalent to remedial sanctions available to

2

3 parolees without disabilities, including the removal of é any and all blanket exclusions of |

4. parolees from remedial sanctions based on disabilities or past or present participation in, n the
5

| Disability Placement Program, Developmental Disability Program, or mental health case
load.

6
7H) © Dz Female Parolees: Defendants’ plan to‘provide remedial sanctions to female ~
8 parolees that are the same or equivalent to remedial sanctions available to male parolees,
9 including the availability of PSAP or programs providing equivalent benefits to female
10 || parolees.
iL EB Implementation, Training, and Supervision: Defendants’ plati, including

12 || timeline, for updating policies and procedures regarding remedial sanctions, conducting
13 ||remedial sanctions training for DAPO and BPH decision-makers, and the development of a
14 | system by which. every DAPO and BPH decision maker is able to determine the availabilty
15 of remedial sanctions statewide on any given day.
16 OR. Compliance Measurement: Defendants’ plan, including timeline, for the .
17 modification of information systems, including RSTS and CalParole, to track the
18 consideration of remedial sanctions at each stage of the parole revocation process.
. 19 G. Parolee Defense Counsel: Defendants” plan to provide to paroles defense
20 |} counsel all policies and procedures circulated to DAPO and BPH devision-makers regarding -
21 |ithe | availability of remedial sanctions statewide including. the eligibility and exclusionary
2 | criteria for each program. . oo oO
23 | H. Remedial Sanctions Programs to Address the Needs of Parolees with Severe
24 ||Mental Illness: The parties have discussed and continue to discuss the problems of parolees .
25 || with severe mental illness whose violations are linked to their imental illness or unmet .
26 mental health needs. Plaintiffs’ position is that in order to be successfull and ‘meaningfully

.27 || available, the remedial sanctions program must include some programs specifically directed |

28 |[ at parolees with current functional impairments at levels comparable to those required at —

STIPULATION AND ORDER REGARDING REMEDIAL SANCTIONS, No. Civ. 5-94-0671 LKEK/GGH — g
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1 || Enhanced Outpatient Program, Mental Health Crisis Bed, and Department of Mental Hedlth
2 Levels of Care i in CDCR Adult Institu tions, .
3
4 - This Stipulated Order shall be binding on the parties as of the date it is fully
’ 3 |lexecuted by them, regardless of whether it has been entered by the Court as of that time.
6 || The provisions of this Order shall remain in full force and effect until further order of this. .
7 |}Court.
8 |/ IT IS SO STIPULATED.
40 ||Dated: April 2,2007 _.» ROSEN, BIEN & GALVAN, LLP
11 By (// Michael W. Bien
* "Michael W. Bien
12 Attorneys for Plaintiffs
13 || .
14 ||Dated: “April 2, 2007 oo OFFICE of the ATTORNEY GENERAL
0 of the STATE OF CALIFORNIA
15 .
16 By ‘(sf Katherine Nelson
Katherine Nelson .
17 Deputy Attorney General
18 Attomeys for Defendants
19
20 . . . : ~ , . . . . 7d ‘ x
a1 The Special Master has reviewed this Stipulation and adopts its terms as a Recommendation .
» ||” the Court. -
|| Dated: April 2, 2007 ‘By /s/ Chase Riveland
23 \ CHASE RIV ELAND
4 Special Master
a5 a. :
36 IT I8 SO ORDERED. |
27 Dated: April 3, 2007
28 . - JU
UNITED: STATES DISTRICT COURT

STIFULATION AND ORDER REGARDING REMEDIAL SANCTIONS, No, Civ. $-94-0671 LKK/GGH 9
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EXHIBIT P —

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Ernest Galvan
‘From: —-._: Boyd, Russa [Russa.Boyd2@cdcr.ca.gov]
Sent: Thursday, May 17, 2007 10:15 AM

. Tor _ Emest Galvan; Marla Morris.
Co: Katherina. Nelson; Ossmann, Josaph; Luzzi, Trey, Maclas-Price, Lori :
Subject; remedial sanctions criteria matrix

Attachments: Exclusionary Criteria Chart-(2}.doc

“Dear Ernis and Marla:

Attached ts the matrix DAPO staff generated which includes’ the existing remedial sanction program Inclusionary/exclusloriary
criteria. As we update the program criteria to conform with our stipulation and order on remedial-sanctions, the matrix will also be
updated. For axample, onca the PSAP, ICDOTP, and EID P&Ps are updated and finallzed,. CDCR will modify | Its program matrix to -
Include the updated criteria for each program.

Please contact me if you have any questions,

Rpsia Boyd
Staff Counsel, office of Lage °
16) 324-1980

5/21/2007

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IN CLUSIONARY/EXCLUSIONARY CRITERIA

. FOR
VALDIVIA REMEDIAL SANCTIONS PROGRAMS
. May 2007
Program, Criteria
‘Community- Inclusionary:
|, Based | :
Coalition | © Open to all parolees with the exception shown below.
Exélusionary:
-e ‘If the Community-Based Coalition is located near places where
| . oe. children frequent, parolees who are requigg@Mtp register pursuant to | .
- a California Penal Code (PC) Section 2906will ndt be permitted into

the Pro gram.

| Day Reporting | inclusionary: |

‘ _ |. Centers .
me © Open to all parolees wil
Exclusionary:

~ Tf the Day Repos i aces where children
frequent, parolee i ter pursuant fo PC
’ Section 290 will I program. .

'. Electroniie

In-Home

fed as Control Service, High Control, or

amit minor violations of parole or the law.

pis nor not designated as ; High Risk Sox Offenders and not |
na Global Positioning System.

Exclusionay:
/ - |°¢ Parolees classified as Second Strikers, High Risk Sex Offenders,

_ot Enhanced Outpatient Program, participants are. ineligible: for
Electronic In-home Detention monitoring.

Case 2:90-cv-00520:KJM-SCR Document 2242-4 Filed 05/24/07 Page 46 of 72

_INCLUSIONARY/EXCLUSIONARY CRITERIA
‘FOR |
VALDIVIA REMEDIAL SANCTIONS PROGRAMS

May 2007

Parolee :

Service
_ Centers

Tnclusionary: |

@ Parolees who have a past or current violent felony convictions pursuant to |
PC Section 667. 5{c) (reviewed on a case-by-case basis). .

« Parolées who have a current felony conviction pursuant to PC ‘Sections
1192,7{c) and 1192.8 (reviewed on a case- ~by-case basis).

-© ‘Civil addict. commitments (N numbers).

¢ .Parolees with misdemeanor holds (reviewed ona case-by-case basis).

* _Parolees who are designated high notoriety (revigg§ed on a case-by-case
basis). " * -

@ Parolees who have a restraining order/court Q

d/or victim notification
* Street gang mernbers {reviewed on a cag
Exclusionary

° Pardlees with pending parole vio @eeeption: rie Coste)

‘Case 2:90-cv-00520-KJM-SCR. Document 2242-4 Filed. 05/24/07 _Page 47 of:72 |

INCLUSIONARY/EXCLUSIONARY CRITERIA
, . FOR
, VALDIVIA REMEDIAL SANC’ TIONS PROGRAMS

May 2007°

Parolee _
_ Substance
Abuse Program

(PSAP)

Inclusionary:

.
Y #

_Bxclusionary:

. » furlough are nat excluded.

Convicted for PC Section 245(d) (assault deadly w weapon or instrurnent or

_Prior conviction of “a serious felony” as defined in PC Section 1192. 7 (c).
Diagnosed under Correctional Clinical Case Management System and fits local
custody criteria. .

Eligible for Proposition 36 6 placement on the current violation,
‘Pending criminal charges in coutt. a
PC Section 290 registration, except: for indecent’ exposure, which shall be
_teviewed for suitability, ,

’ High notoriety case,
Convicted of an offense included in PC 667.5
Convicted of escape, attempted escape, or ng af ape with, force. Also,
‘epnyicted within the last five years of < , at tlhe
escape from a secure perimeter, aT

‘Convicted for PC Section 241 CPM nt ; ainst peace
officer or other public safety provider rye y

instruments, assault on ty eace officer or
Received a  sentenc¥iaa

nt within - the - past

preda
s the hold or warrant expires Prior to the ,
48 Program release date, —

potion 245 (Assault with a deadly weapoa)
© P@Section 451(a) (Arson the causes great bodily i injury
e PC Section 667, 5(¢) (Violent felonies)

Health and Disability Critetia

¢ Using insvlin.

© Currently ina methadone treatment program.

* Currently prescribed psychotropic medication and/or in immediate need of | -
medical or dental treatment. . |:

* Currently designated as Enhanced Outpatient Program (EOP). 4

« Haas a Developmentally Disabled designation of DD-3. :

L

Case 2:90-cv-00520-KJM-SCR Document 2242-4 Filed 05/24/07. Page 48 of 72

INCLUSIONARY/EXCLUSIONARY CRITERIA

.  . FOR
VALDIVIA REMEDIAL SANCTIONS PROGRAMS |
‘ ‘ May 2007
Residential - ‘Tnclusionary:
Multi-Service | * Homeless, indigent, or those in an “at- tisk or unsafe environment. :
Centers ¢ Willing and able to participate inthe program.
‘e Physically, medically, and mentally able to care for themselves.
'¢ Willing and able to work. ©
e 180 days remaining on parole.
* Parolee with less than 180 days remaining on parole may be admitted on
a 1 case-by-case basis. oo
Exclusionary: gf ot,
* Parolee is receiving, or lias. applied to fecei uppléemental Sccurity-
Insurance or other governmental subsjgtgncy
¢ Parolees with any conviction for POSGt
* Parolees with a conviction fog i “spt those
. Which also fall undér PC Section egy, : Mhbe ¢ considered ma case-by- |
_ case basis. y
« Parolees who are prégpant. ; a
* Parolees who are req) > register pulgwant to. PC Section 290 (sex |
offender) or-PC Section Po
Other history of sex offen} a case-by-case basis
-* Any case factors that would ;
© Parolees gem vali Twill be reviewed on a case-by- |.
case bg _ Se
« ‘Othe ed in the terms of the contract. For
“more in agent should contact the Parole Agent
ential Multi-Service Center
Substance | Inc gary:
- Abuse yoo: °
Treatment and | s . Open parolees
Recovery
~ Program
Ex¢lusionary:

- There aie no exclusionary criteria.

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_INCLUSIONARY/EXCLUSIONARY CRITERIA,
FOR
VALDIVIA REMEDIAL SANCTIONS PROGRAMS.

» ° May 2007

4

In-Custody Drug | Criteria

Treatment -
‘| Program - ,
-{LCICDTP) Facility | 2.

Ken Inglusionary:
-Coutity Jail
te, have a nexus to current

Buse related criminal
it is met, the following

Placement into ICDTP requires a parolee to
substance abuse and/or a history of. substag
or violation offenses. Providing this ori
may also be considered on a case by.c

"Prick conviction of a “serigy igs lorty’ ad in PC Section.
1192.7{c). y
. Diagnosed under Corrs
whe fit local custody criterlag

Exclusionary:

~ Priot conviction WE O
667. 5(o)." '

ate” al. the time of Unit Supervisor us)

tion for ICDTP placement,
f BEY arrested in a county outside of their own except |
S i TP facility would be the same as his or her own
#(Attachment B).

se United States Immigration and Naturalization Service hold,
gistate cases or Civil Addict cases. .
Byiave less than 120 days Temaining on parole.
*” No Bloods *
No Norther Hispanics *
No Protective Custody, Hornosexuals aad Mobility Impaired diue af
to their vulnerability *.
Staff Assault history considered 0 ona a case-by-case ‘basis *

“* Local jail restrictions

Case 2:90-cv-00520-KJM-SCR Document 2242-4 ~ Filed 05/24/07

INCLUSIONARY/EXCLUSIONARY CRITERIA
FOR
VALDIVIA REMEDIAL SANCTIONS PROGRAMS

. May 2007

Page 50 of 72.

ICDTP Facility | Criteria

Del Norte Inclusionary:
County Jail

“may also be considered on a case by case basis:

Exclusionary:

* Prior conviction’ of a “viol®
667.5(0).

placement.

ss tlian 120 days remaining-o on parole.

ample: released from Pelican Bay). * %

Placement into ICDTP requires a parolee to havé a mexus to current
|| substance abuse and/or @ history of substance abuse related criminal
or violation offenses. Providing this criterion is met, the following

. Prior. conviction of a “serious s felony ed in PC Section
1192. ©).

in PC Séction

re found in the California
Mngoction 2616(a) (14).

- time ‘of Unit "Supervisor (US)

ih a county outside of their own except
‘would: be the samie as his or her own

re no additional criteria at this site to date. The jail just
o know if there are any issues with a particular parolee

- * Local jail restrictions .

Case 2:90-cv-00520-KJM-SCR Document 2242-4 Filed.05/24/07. ‘Page 51 of 72 -

INCLUSIONARY/EXCLUSIONARY CRITERIA
FOR _
VALDIVIA REMEDIAL SANCTIONS PROGRAMS:

May 2007

ICDTP Facility | Criteria _

Santa Clara Inclusionary:
County Jail . oo
Placement into ICDTP requires a parolee to have a nexus to current
substance abuse and/or a. history of substance abuse related criminal
.ot violation offenses. Providing this criterion, is met, the following
") may also be considered ona case ° by case basis: .

e Prior conviction’ of a “serious felony’ Ws defined in PC Section |
1192.7(c). 7

‘s Diagnosed under Correctional. Ck iff cK al
who fit local custody criteria.

Bxclusionary

° Prior conviction of'a “vio , as defined: fh PC Section

667.5(C).

are found in the California .

a county outside of theit own. except
would be the samé as his of her own |

dated prison or street gang member *
* giscape history or known flight risk *
® Protective custody status * - - :
e Prior Santa Clara County history level 3/4 housing (prior level 2
security housing will be reviewed on a case-by-case | basis. *
| @ Non-ioutine medical needs "

* Local jail restrictions

Case 2:90-cv-00520-KJM-SCR ~ Document 2242-4 Filed 05/24/07'. Page 52 of 72

INCLUSIONAR Y/EXCLUSIONARY CRITERIA -

FOR
: VALDIVI A REMEDIAL SANCTIONS PROGRAMS
: May? 2007
ICDTP Facility [ Criteria

San Francisco
County Jail

Tniclusionary:

Placement into ICDTP requires a parolee to have a néxus to current’
substance abuse and/or a history of substance abuse related criminal |’
or violation offenses. Providing this criterion is met, the following
may also be considered on a case by case basis: -

e . Prior conviction of a “serious felony its de med in PC’ Section
1192.7(c). sy
« Diagnosed under Correctional Chg

' who fit local custody criteria.

Exclusionary:
¢ Prior conviction of a “violetghfeléiy ™: ed th PC Section
667.5(c). .
e Current violat found in the California
Code of Regulati yoction 261 6(a)} (14)
Parolees required t a: : mt tion 290. °

h a county outside of their own except
i would be the same as his or her own

t feinales are okay through their first b trimester but not
ed past the first trimester. (This'is a female ICDTP.) * -

_' * Local jail restrictions

Case 2:90-cv-00520-KJM-SCR Document 2242-4 Filed 05/24/07 Page 53 of 72

INCLUSIONARY/EXCLUSIONARY CRITERIA
FOR...
VALDIVIA. REMEDIAL SANCTIONS PROGRAMS

May 2007

ICDTP Facility | Criteria

| Chula ‘Vista. | Inclusionary:

CityJail = mo o, .

- ‘| Placement into ICDTP requires a patolee.to' have a nexus to curient

-} substance abuse and/or a history of substance abuse related criminal

or violation offenses, Providing this criterion is met, the > following
may also be considered « on a case by case basis:

. Prior conviction of a “serious. felony ae defined in PC Section
1192.7(c). Fe .

- @ Diagnosed under Corréctional 1 cif al Cage. Management System
who fit local custody criteria. @ % ~_ .

| Bxclisionary:

By. defined PC Section

* Prior conviction of a “vio e
667.5(c).i

are found in the California

h a county outside of their own 1 except
would be the same as his or her own

n F medication other than psychotropic, the parolee needs to have
60 day supply - no infirmary or doctor on site. *
e Medical issues that arise needing ongoing care. *-

" * Local jail cestrictions

10

Case 2:90-cv-00520-KJM-SCR Document 2242-4". Filed 05/24/07 Page 54 of 72

INCLUSIONARY/EXCLUSIONARY CRITERIA
. FOR
‘VALDIVIA REMEDIAL SANCTIONS PROGRAMS

May 2007

ICDT? Facility | Criteria

Tulare _- | inclusionary:
County Jail ~ - oe .
Lo Placement into ICDTP requires a parolee to have a nexus to current
substance abuse and/or a history of substance abuse related. criminal
‘| or violation offenses. Providing this criterion is met, the following

may also be considered on a case by case basis:

. Prior conviction of a “serious ‘felony ‘ie fined in PC Section
1192.7(c). dé
' Diagnosed under Correctional C if

who fit local custody criteria. ty
: Exclusionary:

PC Section

t

e Prior conviction of a “violet
667,5{c).

re found in the Califomia
Section 2616(a) (14).

d 1 a county outside of their-own except .
ty would be the same as his.or her own

avesess tian 120 days remaining ‘on sn parole.
val idated prison gang members, including Bulldogs or

‘dered ona case- -by- case basis. *

lo EOP cases. *

¢ No psychiatric or medical requiring on-going transport fo special
care facilities. *

.# No cases which require ongoing medical treatment or cases which
would be a burden to jail staff. *”

41.

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INCLUSIONARY/EXCLUSIONARY CRITERIA
FOR -
VALDIVIA REMEDIAL SANCTION: § PROGRAMS:

May 2007

Substance
Abuse Services

Agencies
(SASCA)

‘| Coordination _

SASCA placement is principally for the purpose of continuing care
(aftercare) for parolees who have completed inniate substance abuse
treatment programs. SASCA placements are available as remedial
sanctions under the following criteria:

Inclusionary ©

@lowing: an. in-prisoti
propram (SAP), Drug

* Parolee must have completed one of th
therapeutic community substance ab b
Treatment Furlough’ (DTF), Fem ender Treatment and
Employment Program (FOTEP, i Cor ba Prisoner-Mother

Substance Abuse Program
the Division of Addiction@f
e Parolee must be withif
. Tecent placement in one GRBbe ’% programs fr a SASCA
aftercare placement.

Exclusionary

. Parolees who hav

ast 180 days of SASCA+
~ Tyagiatytreatment. oe

(FFP), Parolee

12

_ “> Case 2:90-cv-00520-KJM-SCR. Document 2242-4 - Filed 05/24/07 Page 56 of 72 ~

- EXHIBITQ -

Case 2:90-cv-00520-KJM-SCR Document 2242-4 Filed 05/24/07 Page 57 of 72 .

DEPARTMENT OF CORRECTIONS AND D REHABILITATION
OFFICE OF LEGAL AFFAIRS

PAROLE TEAM

1516 K Street, dth Floor -

Sacramento, CA 95814

www.cder.ca.pov ,
‘May 1,.2007

Rosen, Bien & Galvan, LLP
315 Montgomery Street, 10" Floor
San Francisco, CA 94104

Dear Emest Galvan:

Enclosed please find the State’s proposed long-terth memorandum to the field regarding the use of.

- remedial sanctions in lieu of parole revocation. This memorandum is provided as required by Section
IV, Subsection 2 of the Stipulation and Order Regarding Remedial Sanctions, signed by Fudge Lawrerice
Karlton on April 3, 2007 under Valdivia v, Sch warcenegper.

.. As required by the Stiputation and Order, the proposed memorandum declares that Residential Multi-

Service Centers (RMSC), Parolée Service Centers (PSC), In-Custody Drug Treatment Program

(ICDTP), Electronic In-Home Detention (EID), and other programs are available for use as remedial

_ sanctions in lieu of parole revocation. The proposed memorandum also includes information on inter-
county transfers of parolees for the purpose of placement in remedial sanction programs.

The Stipulation and Order also references the work the State is undertaking to revise ICDTP, HID,
RMSC, and PSC policies and procedures, including but not limited to reviewing and reconsidering
exclusionary criteria to make the programs more widely available. Please note that the proposed
memorandum does inclidé some revisions to the RMSC and EID policies. Exclusionary criteria for
ICDTP, RMSC, and PSC are included in provitler contracts, and the State cannot change them
unilaterally. The State will -Fequest that contractors accept amendments revising the criteria. If
contractors are unwilling to do so, the State will ensure that as contracts expire, to the extent possible the

_ new contracts contain the revised criteria. It should be noted, however, that the ICDTP contracts with

' [ocal jails are individually negotiated, and those entities may not always accept the State’s terms.

The State intends to revise the program criteria as foliows:

Residential Multi-Service Centers and Parolee Service Centers .

| DAPO Policy No. 07-08 (RMSC) and No. 05-11 (PSC) will be modified as follows. The
Asligibility Criteria and Exelisionary Criteria in those. policies are hereby: replaced with the
Jallowing:

Exclusionaby Criteria :
All persovis subject to the jurisdiction of DAPO shall be eligible for placement i in ihe RMSC and
PSC with the exception of: Lo,

Parolees unwilling to participate in program,
_ Parolees who are designated high notoriety may be excluded on a case by case basis.
Parolees who are required to register pursuant to PC 290 (sex offender) or PC 457.1 (arson).
Other’ history of sex offenses and arson may be excluded on a case-by-case basis.

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Mr. Stewart

Page 2

, basis.
‘© Civil'Narcotic Addicts (Note that Civil Addicts are not Valdivia class members. )
© Parolees having less than 120 days remaining on parole
° ‘Parolees who, with ADA accommodations, have limitations that prevent them from participating in

© Parolees with any conviction for an offense under PC 667. 5) may be excluded on a case by case
basis.

© = RMSC referrals with less than 180 days remaining. ¢ on 1 parole may be admitted on a case- _by-case

basis.

Parolees with pending felony criminal charges.

In custody parolees with pending local misdemeanor charges which could result & in county fail time. |

Parolees currently in need of detoxification.

Case factors indicating that the parolee would be ¢ a@ danger io others. Examples could include but

are not limited to parolees who are documented as enemies of persons in the program, parolees

against whom a current prograimn participant has a restraining order, parolees with rival gang

affiliations, etc.

* Parolees who are CDCR validated garg members will be reviewed on a case by case basis, -

* Parolees who, with ADA accommodations, have limitations that prevent them from participating ir in
the program.

In-Custo dy Drug Treatment Program

DAPO Policy No. 05-13 is hereby modified as follows. The’ Eligibility Criteria and Exclusionary
Criteria in: that policy are hereby replaced with the following:

Exclusionary Criteria
All persons subject to the Jurisdiction of DAPO shail be eligible for placement i in the ICDTP with
the exception of

® Pavoleés unwilling to participate in the program.
. Parolees who are required to register pursuant to PC 290 (sex offender) or PC 457.1 (arson).
' Parolees with any conviction Sor an offense under PC 667.5(c) may be excluded on a case by case

the program,

We look forward to your review of the enclosed ddcument and to receiving your written comments, As-

' provided in the Stipulation and Order, we are scheduled to meet and confer on this document on.May
31, 2007. oo

Sincerely,
Asi Russa Boyd

RUSSA BOYD

. Staff Coungel

Office of Legal Affairs
(916) 324-1980

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Mr. Stewart —
Page 3

Ge: :

K. Nelson
’C. Riveland .
. G, Morrison

N. Campbell

T. Luzzi -

B. Lewis

D. Carvo

D, Cano

-C. Buffleben

J. Monday

G. Lehman

T. Hoffinan

L. Macias-Price

~ Case 2:90-cv-00520-KJM-SCR. ‘Document:2242-4 Filed 05/24/07 + Page 60:of 72 © a

Y

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Case 2:90-cv-00520-KJM-SCR Document 224

tw ge NN , ,
STATE OF GALIEORNIA, vot
STANDARD AGREEMENT-
STD 213 (Rev 06/03)

2-4 Filed 05/24/07 - Page 61 of 72. .

AGREEMENT NUMBER |
C05,.074

. REGISTRATION NUMBER

1, - This Agreement is entered into batweon the State Rgonoy and the Contractor named below,

STATE AGENCY? NAME

- California Depariment of Correotions and Rehabilitation ] Folsom Transitional Treatment Facilty

SONTRADTORS NAME -
Center Point, Inc.

737 The term of this Janiary 7.2008 through

Agreement Is: |

June30, 2010 =

3. The maximum amount 4,499,904 00

"of this Agreenient Is:

~ Four Million Four Hundred Ninety Nine Thousand Nine Hundred One Dollars

4, The parties ‘agree to comply with the terms and conditions of the foltowing oxhiblts which are by this reference mada | a

part of the Agreement.

Exhibit A. Scope of Work 8 SB Paes

Exhibil B — Budget Detail and Payment Provisions 4 pages.

wid lbits 8.1 through B.6 — Budgel Proposal and Summary § pages

Ibit BB.1 — Non-Expendabie Equipment’ . Tpage

me lbitC*— General Terms and Conditions GTC 1005

Bck mark one item below as Exhibit D: -

P| Exhibit - D Spécial Terms and Conditions {Altached hereto as pat of this saqeament) 12 pages

|| Exhibit - O° Special’ Terms and Conditions

"Exh ib E — Additional Provisions §

pages

items ‘Shown with: an Asterisk {*, are hereby: incorporated by reference and made part of this agreement @ as if attached horato.
Thase documents can be viewad at ww. ols. dgs.ca. gow/Slanderd+Language , . .

IN WITNESS WHEREOF, this Agresment has been executed by the partlas herate,

CONTRACTOR
CONTRACTOR'S NAME, it other thant an individual, state whether 2 corporatian, ramen ste}

“ CENTER POINT, INC.

Calffornia Department of General
. Services Use Only :

‘BY (Authorized Slapeturs) =f BATE SGNED ower ope
PRINTED NAME AND TITLE OF PERSON SIGNING APPROVED
~ Sushma D. Taylor, Ph.D., Chief E) aculive Officer Ce
“ASORESS | ° - ° : FEB “6 2008
STATE OF CALIFORNIA DEPT OF GEnkinat scavcEs |.
AGENCY, MAME ° .
CAYEORNA DEPARTMENT. OF CORRECTIONS AND REHABILITATION
Muthoazad Sande Td ED (De nex type?
72 Lob.

SATE F ME AND TITLE OF PERSON SIGNING .
Karen V. Smith, Chief, Service Contracts Section .

annecte

P.0.B0x942883
Sacramento, CA 94283-0001 -VAL2007-14940

Case 2:90-cv-00520-KJM-SCR Document 2242-4. Filed 05/24/07 Page 62 of 72

,

Center Point, inc, and co

. Agreement No. C05.074
Califomia Department of Corrections and Rehabilitation - oo

' Group activities, which actively engage participants in confronting the individual values and
‘ Behaviors contributing to. thelr substance abuse’ and criminality, shall be small enough to pramate

participation and provide for the safety and security of the participants. To this erid, such groups: .

’ Shall have no more than 18 participants as evidenced on group activity rosters.

Didactic groups, seminars and community meetings organized to provide habilitalive and
- fehabilitative services, substance abuse education, and social and recreational activitles may be »
of any size but shall be small enough to promote learning and allow for positive Interactlon among
the participants. Activities which. are counted toward the requirements for minimum Intensity
activities must have a Contractor program staff person Physically . present’ at all times.
Participation is recorded on group activity rosters. oo, * sO

’ Life skills activities are work assignments for participants that support the day-lo-day facility

~ operations (i.e., culinary, laundry, portar, etc.}. The Contractor shall be responsible for the TTP .
inmate work assignments, organizing the critical work craw, monitoring the inmate workers, and
maintaining a database for the inmate work assignments.’ The database shall track compliance :
with the Folsom State Prison (FSP) procedures of Inmate work assignment and routinely provide _

' faports to | SO 4
the FSP, The Contractor shall work In cooperation with the custody staff to implement life skills,

activities. ,
"The scope of activities for the TTP incl udes the following service elements:

Habilitative and Rehabilitative Services ‘-
Counseling — Individual/Family/Group ,
Collateral Services Lo.
Advocacy and Refarral’
Social and Recraationat Activities
. Substance Abuse Services Planning
Optional Self-Help Group Participation -
‘Life Skilis Curriculum and Job Assignments
. Veeatlonal Counsaling, Assessment and Curriculum
~ Intensive Transitional Drug Treatment and Education

‘- pw es ew eee

_ F. Technical Services of the TTP
4. Inmate Screening, Referral, and Recruitment

The COCR staff and designated contracted. TTP staff are. rasponsible for Sscreaning and ~
referral of inmates to the TTP at the facility. Outreach and recruitment efforts triay also be
Sonducted within reception centers and other institutions. -Tha OSAP CC or désignee shall
assist the Institution and coordinate the process of referrals to openings within tha facility. As
openings become.available within the TTP, inmates shail be referrad to these openings on a
voluntary or involuntary basis, . ce me .

The TTP Contractor shalt participate ih identification and referral of Inmates through program
presentations and recruitment efforts within the institution and other institutions designed to -

solicit voluntary participation in the program.
The following are'the criteria and the exclusions for referral to.the TTP:
A history of substance abusa;. so oe
* A classification score and administrative determinants appropriate to the facility where
the TTP is located; . . Te

Toe, a _- VAL2007 14948

Case 2:90-cv-00520-KJM-SCR Document 2242-4 Filed 05/24/07 Page 63 of 72
Center Point, Inc. and | - - - Agreement No. €05.074
- California Department of Corrections and Rehabilitation | OT . |

* At the tinis of placement, participant must have 150 days to serve, but not less than 90
days tosarve; —- - a Oe 0
Volunteers for participation shail be givan priority for placament to the extent possible;
Inmates. with @ disabillty who are eligible shall not be excluded from participation in the
program pursuant to the Americans with Disabllities Act (ADA) of 1990, (42 U.S.C.
12101 et 'seq.), which prohibits discrimination on the basis of disabillty,; ©

* Correctional Clinical Case Management Systam {CCCMS) Inmates are eligible program

. + participants; Se a

* Medical can be managed In’ ihe facility without “ongoing medical/dental care (no

‘injectable insulin dependants, rio davelopmentally disabled inmates; =.

" Not housed in.a Security Housing Unit at any time during the last year as a result of an

Incident involving assault and/or battery with force sufficient to cause serious injury or
possession of a weapon} . . SO
‘Not housed in a Protective Housing Unit at any time during the last year:

Not certified bya Criminal Activities Coordinator as a member.or associate of a prison
gang; oe aenit “ees
» _ No. active or potential felony holds for any jurisdiction which could result in an increase in

sentence iength; ’ oo

No conviction of arson within the last ten (10) years; ,
No court conviction within the last ten (10) years for walk-aways from Community
Correctional Re-Entry Centers (CCRC) and no more than two walk-aways from CCRC.
(two walk-aways would exclude the participant); Be
"No convictions within the last ten (10) years for attemptad/forcad/aiding in forced escape.
or escape from secure perimeter, escape from a camp, road camp, or outside work -
. oFews: aS mo,
* No pending revecation: : os ct .
No assault listed under Pénal Code (PC) 241 or assault with a firearm fisted under PC
245(d); Foe Oo co
" -No PC 290 (any conviction not Iistad on this document refer to PC. Section 290) or R
suffix offenses (PC Sections 220, 261, 262, 264.1, 266(b), 285, 286, 286:5, 288, 288(a),
and 289): . oo -
No predatory homosexual behavior while incarcerated;
-" No violent felonies listed under PC 667.5(c) convictions: :
-* No active or potential United States immigratian and Naturallzation Service holds; unless
. the hold shall expire prior to their parole date; and : a,
"= Nofcurrantly enrolled In psychiatric Inpatient or Enhanced Outpatlent-Pragram services.

2. New-Employee Orientation

New hires into the TTP Contractor's program shall receive initial orientation to COCR jaws,
- fegulations, policles and Procedures squivalant to the. orientation training required of new

CDCR employees pursuant to CCR Title-15, — Be

Sectlon 3495. a

3. Cross Training

The TTP Contractor will receive -an initial and annual cross training by consullants supplled
and funded by'OSAP. The cross training is designed to bring together custody and substance.
abuse program services staff to identify and foster an understanding of thelr untqua individual
missions within the institution and how they can work together to achieve both unique and

common goals. . . : w

So ‘VAL2007 14949 | |

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STATE, OF CALIFORNIA.

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STANDARD | AGREEMENT . _
| STD 214 (Rev 0803} > Tienevenrttwaen Oo
ee ‘POS. 0042 | .
tC a CO , oe, fo REGISTRATION NUMAER
oo

re. “This Ageament Is enlead into helween ihe’ Stata = Ag806) and. The Contractor named below.

oe STATE AGENCY'S. NAME -- . ve
California. Department of Coftecions and Rehabilitation,

“CONTRAGTOR: 'S NAME o
Turning Point ‘of Central: talttornta, Ini.

.> The term of this - * “duly 1, 2005",

- “Trough
Agreement is: “arupon approval whfchaver Occurs last.

~ + June 30, 7008

3. ‘Thea- ‘mhaxlurn ampunl $4 y505. 904

. Of.this Agreement Ist: One. Million Five ‘Hundzrad. Five ‘Thousand Nine’ Hundred, Four Dollads

oF
rF_.

4. “The partles ages jo comply wl with he
Agraement, ‘

terms and condllions ol the Joliowing exhiblis whieh ara by this faferenca madea part bf lhe -” ,

" Exhibit A = Scope of Work. A
Exhibil 4-1 - Activity. Report (CDC Form 1502).
Exhibils A-2 through A-4 + Data Collection- Forms .

" Exhibit B.-- Budget Detail and Payment Provisions

” Exhibit BR through B-7 :~ Bid Proposal, Rata Shaeis, Worksheet and Non- -Expendeble Equpmint

‘Exhlbll C*-= General Terms and Conditions

Exhibit O- Special Terms and. Conditions (Attached hereto: as part of this agreement}

Exhibit E- Cbc Additional Provisiens .
Exhibit F - Line Item Budget Guide — October 2002
Attachment 4 - Aiulhorization for Security Clearance

~ 19 pages —
page =
_ 5 pages
- 4 page.
10 pagas
 - GTC103°
” 12 pagas
5 pages. ©
: 37 pages
tf page

sat

‘items shown wilh an Asterisk ('}, are herel V incorporated by reference and made part of this agreement as if attached herelo.

\ 3 documents can.be viewed af www. als. dgs.ca. gov/Standard+Language

. IN WITNESS WHEREOF, this: Agroanient has boen executed by the partles hereto,

CO NTRACTOR

CONTRACTOR' 8 NAME {if ‘other than'sn Individual, stale whether ¢- corporation,

Turning Point of. Central Galifornia, Tuc.)
BY (Author ed S gat re). . . DATE SIGNEO(Do nat

AZ

ne = bP OS . : +

a ' te
B NAOE ANWT. TLp/OF PERSON SIGNING

J. Jeff Fly, € def Executive ‘Officer .
"ADDRESS

Th CEPT uf GENGIAL JEAVICZS

STATE OF CALIFORNIA

_ AGENCY NAME

_ California Department of Corrections. _and Rehabilitation .
“BY fAuthorizad Signature) : DATE SIGNED(Do nor

va ‘Otis: LL Ge \yee) bi [tees

PRINTED NAME AND TITLE OF PERSON SIGNING

Ye Janal E, Miura, Assistant Deputy Olrector, Office af Contract S Sarvices

Ibees

‘California Department of |
- General Services Use Only

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EPPROVED.

| ANT 6.26

VAL2007 17466 |

Case.2:90-cv-00520-KJM-SCR -Document 2242-4 . Filed 05/24/07 “ Page 66 of 72
a ee a | “Exhibit A

SCOPE OF WORK:
RESIDENTIAL, MU LTI-SERVICE CENTER

“The Contractor agrees. ta provide the Cailfomnia Dapartmant of Correcllons: and Fighabilitation (DCR),
‘Parole and Community Sarvices Division (P&CSD) with-a Residential MultlService Center (RMSC) and
ali pragrain:sérvice components in accordance with this Agreement and local city, county, and State

ragulations, Fhe facilty location shell ba located i inthe following coulity:.

COUNTY © ‘BEDS os |
' Frasna mo, 8B a

-- PRO GRAM iwTROOUGTION

- The. RMSC vill provide housing, gubstance: abuse services and: Independent Iiving: skills to at-rlak
_ ‘parolees to assist In: their-transition and adjustment back in to the community. Each RMSC shall
’ provide a stable-rasidanes for beth male and famals parolea participants and also. address: the .
Needs of Its Tasidents. .

The RMSC shal include, but is not tiled to te folowing: '
> A licensed. alcohol “anid drug program co-ad residential facility that will ‘service: both
‘males. and female parolee participants. The.tength of stay for parolee participants will
be up. to one hundred alghty (180). days. On a limited basis, some paroles participants
_ May have'an extension.in the program for up to one year with prior written approval.
Tha facility must provide twenty-four hour awake superision, sevan days a week: The
facility Thay also be. occupied by other cliants other than just DCR referrals;

Fe Provide. affective ‘casework management, Including individual tase assessments,
development: of servicas/treatment. plans, development of dlacharge plans which shall’. :
include independent community tiving arrangements and aftercare., and

> Provide on-site counssling and referrat services, including but not limited to. substance
.s abuse counseling, life. skills, employrnent development, Maracys madicat sarviees,
. transition to- independent living and aftercare services,

I, _DEPARTMENT OF CORRECTIONS RESPONSIBILITIES

Da termine eligibility fer parclee-paricipant placement.

Track program referrals on a monthly basis. - .

Review the Contractor's i invoices far accuracy and relmburse. for’ services recelved..
Monitor dontract compllance through site visits, Program Quality Reviews (POR) and’ ‘audits.

Assign i a- Parole Agent Liaison to provide fleld supervision of parolee-participants and facllitate '
-BCR' support (. a. paroles grievance Process, case management reviews, facility. monitoring,
. etc).

-F. DCR/P&CSD Headquarters, Program Development Unit Administration, Is the designated DCR
Contract Manager. for this agreement.

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Turning Point of Central. California, tne. ! . . .. Agreement Number: P04.0042
‘Cailfornia. Department of Corrections and Rehabiltation . oO : Exhibit A °

G. The DER reserves - ‘the right to’ remove ) any. parleeparpant from. the, rogram when
necessary.

cH. Schedule and faclitats Quarteriy’h Meetings with DCR Program and Contract staff.
-JN. CONTRACTOR RESPONSIBILITIES. .

. The Contractor shalt. provide residence. and services to- pardlees and administer the operation of
the program in accerdance with the conditions detalled j in this Agreement. The Contractor shall:

Kh Assume ‘full responsibilty to , stipervige. contractor statf and operate: the  facily In accordance
with alt applicable laws, regulations and. contractual requiremanits. — ~

, 8. . Provide housing, sustenance, supervision and Services for all parcles-participants Jokuaing
making reasonable accommodations for ‘participants with disablities, as. appropriate. :*

_C...Develop the parolee-participant’s - Orientation Program - Handbook within 30 ) days of - the
approved award, Handbeok Thust be reviewed and accepted by DCR..

OD, Furnish the facility with equipment and furnistings..
Provide arid coordinate all: parolee-partlcipant activities and community outreach efforts.

F. Provide daily inspections of food servicas, sleeping quarters, and weekly inspections of the,”
- antira facility to. assure compliance with this contract, *.

G. Provide a drug-free work anvironment for: the safekeeping care and program needs of. the
. barolee-participenits and program staff. ' '

H.~ Provide the DGR with-an organizational chart ‘containing clear lines-of chain of sommeand.

. Develop and. implement written policies and. procedures for administrative, ‘pefgonnel and
operational activities. .

. te Notify In writing to the DCR any ‘resignation: reassignment or ‘disinissal of any required
. . personnel -identified under’ “Staffing Requirament”. within savan (7) calendar days: of lhe action,

» K. Ensure: that experianced personnel are made available immediately. If any employee of Ihe

~ contractor Js unable to perform. assigned duties due to vacation, illness, dismissal, resignation
_ or other factors that are beyond. the Contractor's control. ~The. hiring process: Shall not exceed
___ thirty-(30) days. from the date of vacaricy, .

L. -Attend mandatory. quarterly meetings facilitated by t the DCR Program Manager forthe purpose
of providing program updates and program related training. |

M. Develop and estabilsh a “Parolee Income and Trust” systam to track parolee income and trust
account with the DCR's approval. : .

iv, PAROLEE-PARTICIPANT SCREENING C CRITERIA |

‘Parolaes will be placed into ‘the program for a period or up to 180 days. and on a case-by-case

~ Eee basis up to one year with prior approval frorn the Parole’ ‘Agent Liaison. Tha DCR will have the final 3
- decision. regarding program placements and retains‘the right to remove parolees from the program

at any time. Paroles placement j is. voluntary and shal} meet the following criteria:

AL Homeless, Indigent, or in an “at-risk” erivironmant, -
’ B. Willing and abie to participate in the program;

©. No history. of violence, arson, sex offenses (PC Section 290 Registrants);
(0) Physically and mentally able to cate for themselves;

mo SO 8 . -VAL2007 17468

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Turing Point of Central Gallfornia, inc. :

_ Agraemant: Nombar: PO4.0042°

" Callfornia Deparimant o of Correcttone and Rehabialon ae Do, oo . -Exhibit A

a —€
a .*:

Willing and able't to work; and
ls not recelvirig or has nat’ apolled to. receive Supplemental she Insurafice (88).

“V. FACILITY. REQUIREMENTS |: _

. A

General: The Contractor will provide a “facility suitable for 24-hour supervised housing for 2.
eligible adult male and female. parolee-participants.: Fhe Contractor shail have documented — .

avidence that shows the facility is in: ‘compllante with all applicabtd- bullding, sanitation, health,
safely, fire codes, city and. county zoning ordinances. The Contractor must have a Gondillonal

: Use Permit (CUP). or equivalent | in effact at all times during the tary ‘of the contract. .

‘The total’ occupancy-shall not exceed the authorized capacity as set by the fire inspector i for the

respective facility and/or as set by the CUP (IF spplicable). :The Contractor's facility must be of

' ample. size to accommadate all: Participants, employéas and the assigned parole agent. ‘if the

- Contractor utilizes. additional facilities to provide required servicas, (ie., counseling: services,

. ote. ‘ each faciilty must mest “all slaarances and codes as stated below.

SHouid substance: abuse counsaling be provided at the ‘Contractor's tactily, the facility must be
‘licensed. by the. Stata Department of Alcohol and: Drug Prograris..{ADP) to operate as a; -
rasidenitlal facility.as defined tn Titla:S of the California remot of Reguiations, The ADP License af

shall remalr valld thraughout the term of the. contract.

Pest Coniral: The contractor shall provide for dally documented pest control inspections and
Shall rnaintain monthly pest cantrol sarvices to ensure the facility Is free af Insect-and rodent

- Infestation. :Documentation of pest control services will be maintained at the facility and made
' available to BCR staif upon request. i.

Housing: Alt parolee-participants must bé housed ata single facility, if’ licensed as co-ed by

_ ADP, facilities may be adjacent to each other. * Parolee-particlpant housing may be dormitory

style of individual roams (not lo exceed six persons per room). Rooms must meet all: State

ordinances and DCR regulations for minimum space requirements. A minimum of 50 square ~

. - feet of sleeping space shall be provided each paroles-participant of which no more than four

‘square faet is closet space. In addition, pursuant to DCR regulations, policy, and procedures,
up to Slx cubic faat must be provided for ‘allowable personal proparty, excluding designated :

work clothing and shoes.

_ Bach participant's sleaping quarters shall include a bad frame, box spring and | mattress, ‘and
pillow; supply of ‘clean bed IInens; towel; chair; locker; closet or dresser for participant clothing.

and authorized personal property. . Mattresses and.pillows shall be replaced as they wear-out of

are. damaged, The. facillty must previde an adequate number of full sarvice bathrooms in -
accordance with minimum Board of Corrections (BOC) standards. . These standards Include
-item-to-parolee ratios such as: toilets (1:8), urinals. (optional-1:4), sinks (1:8) arid showers (1:8). -

The facilily must. also provide.a day room for living actlvilies such as studying, writing; reading

’ and viewing television. (20 square fest per parolee-participant). Tha area shall have proper.
’ lighting, heating and ventilation. in accordance with Penal Code 1208, tha Contractor shall -

“~~ operate-in compliance with all appropriate state and local building. -Zoning, ‘Health, safety, and
fire statutes, ordinances. and regulations. :

“Food § ervice d Dini Area:

. The. dining rdom and foad ‘service areas ‘shall include a room that contains tablas and benches
. of chairs sufficient in size to-allow participants to dine at one or two seating per meal. This -

room may be used for multiple purposes when not In use for dining. The facllity. klichen, dining
roam, food storage, area, equipment, appliances, fumishings and cabinetry, as weil as’ all food

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. EXHIBITT |

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DAILY JAIL RATE MANUAL ~

For REIMBURSEMENTS :
UNDER

SECTION 401 6.5 OF rue PENAL CODE

SECTION 1776 OF THE WELFARE AND INSTITUTIONS CODE

CALIFORNIA DEPARTMENT OF CORRECTIONS AND REHABILITATION

FISCAL YEAR 2007/08

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DJR Manual ot a Dally Jail Rate

A list of unallowable costs is indicated below. An explanation of each cost is contained i in
Appendix VI, Glossary of Definitions. :

‘Advertising Home detention

Booking costs, including « classification Equipment. that meets. or “exoseds the
costs. . county or city’s capitalization policy |
Capital assets | Facility lease or use costs
Commissary. costs . Fines and penalties
Communications or radio services, | Insutable Josses -
. outside of the jail facility
Contingendies: Interest and other finance costs
Contributions and donations _ | Legalexpenses
| Depreciation costs | Meals for guests
| Elected official’s salaries and benefits _Non-routine medical expenses
Encumbrances. Non-routine pharmaceutical expenses;
_ [ie prescriptions ,
Inmate Programs (vocational; ‘| Transportation outside of the county
educational, rehabilitative, ete.) | lines, excluding transportation to a
a __| State facility
Loans for capital improvements Lease from the county or from the cily
government for jail space.
Work furlough oe

<9) NOTE: Unallowable costs must be, included as both a-direct cost and then
_ removed as an unallowable direct cost on Lines 12-17 on the DIR Computation
Schedule. This will ensure that the correct percentage of f allowable indirect |
costs is calculated and applied to the DIR. .

F. -NON-ROUTINE MEDICAL/DENTAL AND MISCELLANEOUS EXPENSES
L.: Non-Routine Medical/Dental Expenses: —
Definition: |

“Non-routitie medical expenses” refers to medical services provided to an individual for a .
Specific condition or specialized care, such-as those that typically requires a specialized
physician (¢.g., dermatology, psychiatry, cardiology, sadocrinology, neurology,
oncology, étc.).

Non-routine medical expenses are unallowable as a direct cost in the DIR calculation,
~ and must be billed by the city or.county directly to HASS, via the appropriate DAPO
, Regional Headquarters Office: (Gee Chapter VI, CDCR Claims Processing. )

NOTIFICATION REQUIREMENTS AND AUTHORIZATION For “TREATMENT:

Please refer to Chapter VI, Claims Processing, for specifi ic documentation
requirements, ,

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’ DUR Manual

Daily Jail Rate

Parole ody - ity or county

requires non-routine - [.. verbal notification to the Parole Unit
medical care, - - Supervisor re: required medical care.
Parolee in custody ‘|. - City or county’ Within three consecutive days, must
requires emergency non- ' _.| provide written notice to the State
routine medical care, | oo re: emergency care,

..| Notification of non- | Parole Unit "| Forward notice to the District
routine medical care . Supervisor Administrator.

'[ received, et of
Notification of non- District Forward notice to DAPO Health
routine medical care . Administrator - | Care Coordinator for evaluation and
received, | wo disposition.

Final determination ~ District’ | Communicate determination to
established as to. . Administrator Parole Unit Supervisor.
whether to release vo oy 0

parole hold or remove

inmate from the care of

‘| the city or county. -

Final determination _ Parole Unit Either authorize treatment and -
communicated from. Supervisor continue parole hold, or remove
District Administrator. ___:: | parolee from city or county care.

If a State parolee in the custody of the city or county requires non-routine medical care
after being received, the city or county must provide verbal notification fo the Unit

“Supervisor of the respective parole unit within 24 hours. ~ Additionally, within three.

consecutive days of an emergency non-routine medical need, the city or county’ must
provide written notice to. the State for a determination whether to release the State’s
parole hold or remave said inmate from the care of the city or county. Notification shall
be directed in writing to the appropriate Unit Supervisor.

The Unit Supervisor will immediately forward such notice, including the specific n nature
and level of'medical services required, to the respective District Administrator.

The District Administrator shail forward pertinent details to the DAPO Headquarters | .

“Health Care Coordinator for evaluation and disposition.

The District Administrator will communicate the final determination to the Unit
Supervisor, who will be responsible for authorizing treatment and continuing a parole
hold or removing the effected parolee from the city or county jail, as appropriate.

Non-routine medical’ needs of a non-emergency nature require written
pre-authorization from the DAPO, and: shall be processed in a manner similar to that of .
an emergency medical need.

Failure to meet notification requirements and authorization for treatment shall

~ nullify the obligation of the State to accept financial responsibility for any parolee
. Fequiring non-routine medical care,

The. State will. not compensate the city or county for the cost of housing inmates,

' including medical cases, beyond the scheduled day of transport who are confirmed

by the city or county as “ready to transport” and unavailable on the scheduled day,

- unless such delays are beyond the control of the city or county.

FY 0708

Page 11.

